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                  No. 25-1019
            IN THE UNITED STATES COURT OF APPEALS
                    FOR THE SECOND CIRCUIT


                            RUMEYSA OZTURK,
                             Petitioner-Appellee,

                                       v.

                        PATRICIA HYDE, ET AL.,
                         Respondents-Appellants.


     ON APPEAL FROM THE UNITED STATES DISTRICT COURT
               FOR THE DISTRICT OF VERMONT
                District Court Case No. 2:25-cv-374


              APPELLANTS’ PETITION FOR PANEL AND
                     EN BANC REHEARING


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                                 INTRODUCTION

      The question in both Ozturk v. Hyde and Mahdawi v. Trump, at bottom, is

whether an alien can circumvent the INA’s jurisdictional bars on federal district

courts reviewing removal decisions, by bringing the exact same claims against the

decision to detain the alien as part of removal. 1 The answer is no.

      Congress divested district courts of jurisdiction over challenges related to

removal, regardless of how they are styled. When an alien challenges his detention

on the ground that he should not be removed in the first place, it is in substance a

challenge to his removal. At issue here are several statutory provisions that do just

that. First, 8 U.S.C. § 1252(g) deprives district courts of jurisdiction to review claims

arising from the decision or action to “commence proceedings.”                  Second,

§§ 1252(a)(5) and (b)(9) deprive district courts of jurisdiction to review actions

taken or proceedings brought to remove aliens from the United States, and channel

such challenges to the courts of appeals. Third, § 1252(a)(2)(B)(ii) deprives district

courts of jurisdiction to dictate to the Executive Branch where it must detain an alien

during removal proceedings.

      An emergency stay panel erroneously disregarded the above jurisdictional

bars, and found that the government was unlikely to succeed on the merits of its



1
  Although the panel denied the consolidation motion, for this reason, the
government is filing the same petition in both cases.
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appeals in these two cases. Ultimately, the panel viewed the jurisdiction-stripping

provisions inapplicable insofar as petitioners purported to challenge their detention,

thus declining to stay a district court order requiring the transfer of Ozturk from a

detention facility in Louisiana to one in Vermont, and declining to stay another order

directing the immediate release of Mahdawi. At every turn, the panel’s reasoning

fundamentally conflicts with the language of § 1252, as well as with decisions of the

Supreme Court, of this Court, and of other circuits interpreting those provisions.

Accordingly, rehearing en banc is warranted, and the government’s petition should

be granted.

                          RELEVANT BACKGROUND

      A.      Removal Proceedings and Judicial Oversight

      Under the Immigration and Nationality Act (“INA”), 8 U.S.C. § 1101, et seq.,

removal proceedings generally provide the exclusive means for determining whether

an alien is both removable and eligible for any relief or protection from removal.

See 8 U.S.C. § 1229a. Section 1229, entitled “[i]nitiation of removal proceedings,”

explains that an alien must be given written notice of the initiation of removal

proceedings though a charging document titled, “Notice to Appear.” 8 U.S.C.

§ 1229. To commence removal proceedings, the U.S. Department of Homeland

Security (“DHS”) files the notice with the immigration court.




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      Removal proceedings are conducted before an immigration judge.                 Id.

§ 1229a(a)(1). “At the conclusion of [a removal] proceeding the immigration judge

shall decide whether an alien is removable from the United States.”                  Id.

§ 1229a(c)(1)(A). An immigration judge, however, does not have the last word in

an alien’s immigration proceedings. An alien can (and must, to preserve a claim)

appeal an immigration judge’s decisions to the Board of Immigration Appeals

(“BIA”). See United States v. Gonzalez-Roque, 301 F.3d 39, 47-48 (2d Cir. 2002);

8 C.F.R. § 1003.1 (setting out the organization, jurisdiction, and powers of the BIA).

An alien’s order of removal does not become final until the BIA affirms the order,

or the time permitted to appeal runs. 8 U.S.C. § 1101(a)(47)(B).

      An alien may seek judicial review of the BIA’s decision by filing a petition

for review in the appropriate court of appeals. See 8 U.S.C. § 1252(a). Congress

has repeatedly legislated to ensure federal circuit courts are the exclusive Article III

forum for aliens to challenge their administrative proceedings. Specifically, in 1996,

Congress “comprehensive[ly]” amended the INA through passage of the Illegal

Immigration Reform and Immigrant Responsibility Act (“IIRIRA”). INS v. St. Cyr,

533 U.S. 289, 291 (2001). Among other reforms, IIRIRA eliminated district court

jurisdiction and provided that the courts of appeals oversee the immigration system

exclusively through petitions for review. See 8 U.S.C. § 1252 (codifying IIRIRA’s

judicial review provisions, including later revisions discussed infra). Congress again



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amended the INA through the REAL ID Act of 2005. Xiao Ji Chen v. U.S. DOJ,

471 F.3d 315, 326 (2d Cir. 2006). The REAL ID Act repeatedly inserted language

into the relevant provisions of 8 U.S.C. § 1252, clarifying that their jurisdiction-

stripping effects apply notwithstanding any other provision of law, whether

“statutory or nonstatutory.” REAL ID Act, Pub. L. No. 109-13, § 106, 119 Stat. 231

(2005) (quoted language codified at 8 U.S.C. §§ 1252(a)(2)(A), (B), (C), (a)(4),

(a)(5), (b)(9)). Thus, Congress has repeatedly legislated to design, implement, and

refine a three-tier administrative and judicial system—namely, the immigration

court, the BIA, and the Court of Appeals—to determine if and when an alien is

removable. And Congress expressly excluded the district courts from that process.

      B.    Factual and Procedural Background

            i.       Moshen Mahdawi

      Mahdawi, a Palestinian, is a lawful permanent resident.           No. 25-1113,

ECF#20, Ex. A, ¶¶8, 18, 19. He also has a troubling and longstanding history with

antisemitism (among other things).         See No. 2:25-CV-389, Doc.42-3, at 1-2

(Mahdawi was stopped at the border and found to be carrying drugs, including LSD,

methamphetamine, and illegal mushrooms, as well as more than $4,000 in U.S.

currency); id., Doc.42-2, at 6 (Mahdawi was in the process of divorcing his wife,

who asked the police department to take custody of a shotgun in their home

following a “non-physical argument” with him). Most notably, on one occasion,



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Mahdawi visited a gun store, where he bragged about “kill[ing] Jews while he was

in Palestine.” Id., Doc.42-2, at 2. Around that time, he also told someone he “like[d]

to kill Jews.” Id. at 4. And it seems those sentiments continued at Columbia, where

he has been a central figure in recent campus protests that gripped the country.

      On April 14, 2025, Mahdawi was taken into DHS custody after Secretary of

State Rubio determined that his presence and activities in the country were seriously

adverse to American foreign policy. No. 25-1113, ECF#20, Ex.A ¶¶3, 50; Ex.B.

DHS now seeks to remove Mahdawi pursuant to 8 U.S.C. § 1227(a)(4)(C)(i), which

renders removable “[a]n alien whose presence or activities in the United States the

Secretary of State has reasonable ground to believe would have potentially serious

adverse foreign policy consequences for the United States.” Id., Ex.A ¶¶5, 57.

      On April 14, 2025, Mahdawi filed a habeas petition in the District of Vermont

based on his alleged “retaliatory arrest and attempted removal.” Id. ¶1. He alleged

that he was “an outspoken critic of Israel’s military campaign in Gaza and an activist

and organizer in student protests on Columbia’s campus until March of 2024,” and

that his arrest and detention are an attempt to “retaliate and punish noncitizens for

their speech and expressive conduct related to Palestine and Israel.” Id. ¶¶2, 4. He

asserted claims under the First Amendment, the Due Process Clause, the

Administrative Procedure Act (“APA”), and the non-delegation doctrine, and sought

release on bail. Id. ¶¶58-90.



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      On April 30, 2025, the district court released Mahdawi from custody. See

Mahdawi v. Trump, -- F.Supp.3d --, 2025 WL 1243135, at *14 (D. Vt. Apr. 30,

2025). The district court concluded that the jurisdictional bars under 8 U.S.C.

§§ 1252(g), 1226(e), 1252(a)(5), and 1252(b)(9) did not preclude its review of

Mahdawi’s habeas claims. Id. at *4-8. For the merits, the court concluded the

conditions for relief under Mapp v. Reno, 241 F.3d 221 (2d Cir. 2001), were

satisfied. Id. at *8-14.

             ii.    Rumeysa Ozturk

      Ozturk is a citizen of Turkey. No. 25-1019, ECF#19, Ex.A, ¶8. She entered

the United States under a student visa. Id. ¶8. After the Department of State revoked

her visa under 8 U.S.C. §1201(i), the U.S. Immigration and Customs Enforcement

(“ICE”) arrested Ozturk on March 25, 2025, pursuant to 8 U.S.C. § 1226(a). See id.,

Ex.B, ¶5. ICE served Ozturk with a Notice to Appear, charging her as removable

under 8 U.S.C. §1227(a)(1)(B), as an alien “whose nonimmigrant visa … has been

revoked under section 1201(i).” Id. ¶14. After staying at a facility in Vermont for

one night, ICE transported Ozturk to a detention facility in Louisiana. Id. ¶¶18-19.

      Ozturk filed her original petition with the District of Massachusetts on the

evening of March 25, 2025. Id. ¶20. Ozturk filed an amended petition, alleging

violations of the First and Fifth Amendments and the APA, and sought release on

bail. Id., Ex.A. Because Ozturk was, at the time of filing, detained in Vermont, the



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Massachusetts district court transferred the action to the District of Vermont under

28 U.S.C. § 1631. Id., Ex.C.

      On April 18, 2025, the district court issued a decision denying the

government’s motion to dismiss, and relying on the “equitable and flexible nature of

habeas relief,” the court ordered that Ozturk be transferred to ICE custody within the

District of Vermont no later than May 1, 2025. Ozturk v. Trump, -- F.Supp. 3d --,

2025 WL 1145250 (D. Vt. Apr. 18, 2025). Regarding the jurisdictional bars under

8 U.S.C. §§ 1201(i), 1226(e), 1252(g), 1252(a)(5), and 1252(b)(9), the court

concluded that none barred its review of Ozturk’s habeas claims. Id. at *10-15.

      C.     The Panel Decisions

      On May 7 and 9, 2025, a three-judge motions panel denied the government’s

emergency motions for a stay pending appeal. No. 25-1019, ECF#71 (“Ozturk

Op.”); No. 25-1113, ECF#86 (“Mahdawi Op.”). 2 The decisions in both cases

substantially overlap, at least with respect to the issues raised herein. 3




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  The panel’s opinions are published at Ozturk v. Hyde, --- F.4th ----, 2025 WL
1318154 (2d Cir. May 7. 2025), and Mahdawi v. Trump, --- F.4th ----, 2025 WL
1353665 (2d Cir. May 9, 2025).
3
  The Ozturk decision addressed venue issues that are not present in Mahdawi. The
government reserves its right to challenge all aspects of both decisions, but for
purposes of this application, focuses on the overlapping issues concerning the INA’s
jurisdiction-stripping provisions.


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      First, the panel addressed 8 U.S.C. § 1252(g), determining that the

government was unlikely to succeed on its arguments that § 1252(g) divested the

district court of jurisdiction, principally on the ground that petitioners’ challenges to

detention were independent of, or wholly collateral to, the removal process. Ozturk

Op.24-29; Mahdawi Op.9-13. Second, the panel addressed 8 U.S.C. §§ 1252(a)(5)

and (b)(9), similarly determining that the government was unlikely to succeed on its

arguments that those sections deprived the district court of jurisdiction, principally

on the grounds that such provisions are inapplicable where no removal orders are at

issue, or at least where petitioners’ unlawful detention claims can be resolved

without affecting the pending removal proceedings. Ozturk Op.30-37; Mahdawi

Op.13-17. And third, with respect to the government’s separate argument that the

district court lacked jurisdiction over DHS’s discretionary determinations of where

to detain a particular alien, the panel determined that the government was unlikely

to succeed on its argument that 8 U.S.C. § 1252(a)(2)(B)(ii) applied to such

decisions, because none of the statutes the government cited provide a clear

statement. Ozturk Op.19-23; Mahdawi Op.17-21.

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                                    ARGUMENT

      Rehearing en banc is warranted where “the proceeding involves a question of

exceptional importance.” Fed. R. App. P. 35(a)(2). That standard is satisfied. The

panel’s decisions conflict with the text of the statutes and with decisions of the

Supreme Court and other circuits.

      A.     The Panel Misapplied 8 U.S.C. § 1252(g)

      The panel’s application of 8 U.S.C. § 1252(g) was in error. 4 It rests on the

premise that detention challenges are “independent of, or wholly collateral to, the

removal process,” which is at odds with the text of the statute and the Supreme

Court’s interpretation § 1252(g).

      When an alien challenges his detention on the ground that he should not be

removed in the first place, it is in substance a challenge to his removal. And when

an alien challenges being detained in the process of being removed, that suit is one

that “aris[es] from the decision . . . to commence [removal] proceedings.” 8 U.S.C.

§ 1252(g). That is precisely the posture of these cases. As the habeas petitions make

clear, petitioners are not challenging some discrete aspect of their detention; they are




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   8 U.S.C. § 1252(g) deprives courts of jurisdiction, including habeas corpus
jurisdiction, to review “any cause or claim by or on behalf of an alien arising from
the decision or action by [the Secretary of Homeland Security] to [1] commence
proceedings, [2] adjudicate cases, or [3] execute removal orders against any alien
under this chapter.”


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challenging the fact that they are detained, on the ground that they cannot properly

be removed to begin with. That falls within the heartland of § 1252(g). See, e.g.,

Alvarez v. ICE, 818 F.3d 1194, 1203 (11th Cir. 2016) (“[§ 1252(g)] bars us from

questioning ICE’s discretionary decisions to commence removal” and reviewing

“ICE’s decision to take him into custody and to detain him during removal

proceedings.”); Humphries v. Various Fed. USINS Emps., 164 F.3d 936, 945 (5th

Cir. 1999) (similar); Limpin v. United States, 828 F. App’x 429, 429 (9th Cir. 2020)

(“[C]laims stemming from the decision to arrest and detain an alien at the

commencement of removal proceedings are not within any court’s jurisdiction.”).

      The panel’s opinions rest entirely on bifurcating detention and removal—

allowing suits to the former, regardless of their connection to the latter. But that

would neuter the very purpose of § 1252(g): It would allow every alien to attack the

merits of his removal, through a habeas suit nominally challenging his detention;

and in turn, the government would be subject to the sort of burdensome, parallel

litigation the INA endeavored to stop. Reno v. American-Arab Anti-Discrimination

Comm., 525 U.S. 471, 482-86 (1999) (“AADC”). Instead, what matters is the

“substance” of the challenge. Delgado v. Quarantillo, 643 F.3d 52, 55 (2d Cir.

2011). And where, as here, a challenge to detention is in substance a collateral attack

on the decision to remove, § 1252(g) bars it.




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      The practical import of the panel’s decisions is that detained aliens can file

habeas petitions that attack the validity of their removal proceedings or removal

orders, so long as they frame it as a detention challenge. Such a result is contrary to

statute and flies in the face of congressional intent. As the Supreme Court explained

in AADC, § 1252(g) was “designed to give some measure of protection” to

immigration authorities’ discretionary decisions regarding the commencement of

removal proceedings: Congress provided that if those decisions “are reviewable at

all, they at least will not be made the bases for separate rounds of judicial

intervention outside the streamlined process that Congress has designed.” 525 U.S.

at 485; see 8 U.S.C. § 1226(e) (stripping review over certain “discretionary

judgments”). Indeed, the “theme” of IIRIRA was to “protect[] the Executive’s

discretion from the courts,” and consistent with that, § 1252(g) in particular was

“directed at the deconstruction, fragmentation, and hence prolongation of removal

proceedings.” Id. at 486-87.

      Notably, in AADC, where the Supreme Court held that materially identical

claims were proscribed by § 1252(g), nowhere did the Court hint that the exact same

theories could be raised in federal court, just captioned as a challenge to the

interluding “detention,” versus the ultimate “removal.” Nor would that make any

sense under the opinion. The entire logic of AADC was to bar certain parallel

litigation, and preserving ex ante litigation that would interrupt the “initiation and



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prosecution of [the] various stages in the deportation process.” 525 U.S. at 484.

That applies in full measure here, where petitioners are challenging being detained,

as part of being removed. The panel’s opinions deemed AADC as irrelevant simply

because that case “did not sound in unlawful detention.” Ozturk Op.29; Mahdawi

Op.13. But AADC cannot be limited in that way. In short, § 1252(g) was designed,

and has been interpreted by the Supreme Court, to preclude precisely the type of

cases now before this Court.

        B.    The Panel Misapplied 8 U.S.C. §§ 1252(a)(5) and (b)(9)

        The panel’s application of 8 U.S.C. §§ 1252(a)(5) and (b)(9) also was in

error. 5 It rests on the premise that such provisions are inapplicable where no removal

orders are at issue, or at least that petitioners’ unlawful detention claims can be

resolved without affecting the pending removal proceedings. But this reading of

§ 1252(b)(9) is incorrect. Only when an action is “unrelated to any removal action

or proceeding” is it within the district court’s jurisdiction. Ruiz v. Mukasey, 552 F.3d




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    8 U.S.C. § 1252(b)(9) provides:

        Judicial review of all questions of law and fact, including interpretation and
        application of constitutional and statutory provisions, arising from any action
        taken or proceeding brought to remove an alien from the United States under
        this subchapter shall be available only in judicial review of a final order under
        this section. Except as otherwise provided in this section, no court shall have
        jurisdiction . . . by any . . . provision of law (statutory or nonstatutory), to
        review such an order or such questions of law or fact.


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269, 274 n.3 (2d Cir. 2009). “[T]he substance of the relief that a plaintiff is seeking”

will dictate whether the district court has jurisdiction. Delgado, 643 F.3d at 55. If

the substance of a suit is an indirect challenge to a removal order, it is barred by the

INA. Id.; see also AADC, 525 U.S. at 483 (Section 1252(b)(9) is an “unmistakable

‘zipper’ clause” that “channels judicial review of all [claims] arising from

deportation proceedings” to a court of appeals in the first instance); J.E.F.M.

v. Lynch, 837 F.3d 1026, 1031 (9th Cir. 2016) (similar); Calcano-Martinez v. INS,

232 F.3d 328, 340 (2d Cir. 2000) (similar).

      Indeed, consistent with law and logic, the Supreme Court has already said as

much. In Jennings v. Rodriguez, the Court held that whatever § 1252(b)(9)’s precise

bounds, it would reach a challenge to “the decision to detain [an alien] in the first

place” as part of removal. 583 U.S. 281, 294 (2018). That is the issue here.

      In contrast, the panel’s opinions rest entirely on bifurcating detention and

removal.   But again, petitioners do not bring simple detention challenges that

ordinarily may be cognizable. Instead, the thrust of their claims is that their removal

proceedings are unlawful, and so any detention incident to such invalid proceedings

is likewise unlawful. That is not a simple detention challenge that can be heard in

habeas. That is a challenge to removal proceedings, regardless of how it is spun.

The plain language of § 1252(b)(9) covers “all questions of law and fact . . . arising

from any action taken or proceeding brought to remove an alien”—that broad



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language covers detention-related challenges such as petitioners’ where such

challenges are inextricably intertwined with challenges to the validity of their

removal proceedings. See, e.g., Gonzalez-Alarcon v. Macias, 884 F.3d 1266, 1275

(10th Cir. 2018) (“Although Gonzalez-Alacron seeks release from detention, his

claim is based on the alleged invalidity of his removal order.”); Martinez

v. Napolitano, 704 F.3d 620, 623 (9th Cir. 2012) (“When a claim by an alien,

however it is framed, challenges the procedure and substance of an agency

determination that is inextricably linked to the order of removal, it is prohibited by

section 1252(a)(5).”); Delgado, 643 F.3d at 55 (if petitioner “is indirectly

challenging her reinstated order of removal, ... we hold that section 1252(a)(5)’s

jurisdictional bar applies equally to preclude such an indirect challenge”).

      Further, contrary to the panel’s view, the fact that petitioners do not currently

have final removal orders does not render § 1252(b)(9) inapplicable. To require a

removal order before triggering the jurisdiction-stripping provisions of § 1252 is

unsupported by the statutory text and undermines the administrative system as a

whole. Section 1252 requires an alien to exhaust all issues first in immigration court

and at the BIA, and then once subject to a final removal order, he or she may seek

judicial review of any legal, constitutional, or factual question in the court of appeals

through a petition for review. See 8 U.S.C. §§ 1252(a)(5), (b)(9); see also Ajlani

v. Chertoff, 545 F.3d 229, 235 (2d Cir. 2008); accord Monsalvo v. Bondi, 145 S. Ct.



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1232, 1241 (2025). (“Section 1252 permits individuals to petition for judicial review

of ‘final orders of removal’ and indicates that those petitions supply the exclusive

means for securing ‘[j]udicial review of all questions of law.’” (emphasis added)).

Congress devised that process, and petitioners should not be permitted to circumvent

it. Allowing such claims to proceed in district court would welcome the precise

front-end district court litigation that the provisions in § 1252 were designed to stop.

      C.     The Panel Misapplied 8 U.S.C. § 1252(a)(2)(B)(ii)

      The panel’s application of 8 U.S.C. § 1252(a)(2)(B)(ii) also was in error. 6

Courts lack authority to dictate to the Executive Branch where it must detain an alien

during removal proceedings. That rule follows from a straightforward application

of the INA: 8 U.S.C. § 1226(a) gives DHS broad discretion over whether to detain

an alien during removal proceedings; 8 U.S.C. § 1231(g) gives the Secretary

authority to “arrange appropriate places of detention for aliens detained pending

removal or a decision on removal”; and 8 U.S.C. § 1252(a)(2)(B)(ii) strips

jurisdiction for federal courts to review that sort of discretionary determination. See,

e.g., Van Dinh v. Reno, 197 F.3d 427, 433 (10th Cir. 1999).




6
  8 U.S.C. § 1252(a)(2)(B)(ii) precludes jurisdiction “to review . . . any . . . decision
or action of the Attorney General or the Secretary of Homeland Security the
authority for which is specified under this subchapter to be in the discretion of the
Attorney General or the Secretary of Homeland Security.”


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      Relying on Kucana v. Holder, 558 U.S. 233, 247 (2010), the panel explained

the jurisdictional bar of § 1252(a)(2)(B)(ii) “applies only to those decisions where

Congress has expressly set out the Attorney General’s discretionary authority in the

statute.” Ozturk Op.20-21; Mahdawi Op.18. And finding no “clear statement”

specifically rendering the determination of where to house an alien to be within the

Secretary’s discretion—in either § 1226(a) or § 1231(g)—the panel determined that

§ 1252(a)(2)(B)(ii) did not apply.

      But the panel’s decisions take an overly cribbed view of the statutes. As this

Court recognized, “statutory discretion” can come in many forms, including where

the Secretary is given the power to do something, without simultaneously “required”

to do so in any “particular” way. Wood v. United States, 175 F. App’x 419, 420 (2d

Cir. 2006). So much so here: The Secretary has discretion over whether and where

to detain aliens like petitioners here; that sort of “discretionary judgment” is

unreviewable. Cf. 8 U.S.C. § 1226(e). District courts throughout this Circuit have

repeatedly held they lack authority to dictate to the Executive where it must detain

an alien during removal. 7 They are right.


7
   See, e.g., P.M. v. Joyce, No. 22-CV-6321 (VEC), 2023 WL 2401458, at *5
(S.D.N.Y. Mar. 8, 2023); Vasquez-Ramos v. Barr, No. 20-CV-6206-FPG, 2020 WL
13554810, at *6 (W.D.N.Y. June 26, 2020); Mathurin v. Barr, No. 6:19-CV-06885-
FPG, 2020 WL 9257062, at *11 (W.D.N.Y. Apr. 15, 2020); Adejola v. Barr, 408 F.
Supp. 3d 284, 287 (W.D.N.Y. 2019); Gomez v. Whitaker, No. 6:18-CV-6900-MAT,
2019 WL 4941865, at *6 (W.D.N.Y. Oct. 8, 2019); Salazar v. Dubois, No. 17-cv-


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                                CONCLUSION

      The Court should grant rehearing en banc.

                                         Respectfully submitted,

                                         s/Drew C. Ensign
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2186 (RLE), 2017 WL4045304, at *1 (S.D.N.Y. Sept. 11, 2017); Zheng v. Decker,
No. 14-cv-4663 (MHD), 2014 WL 7190993, at *15-16 (S.D.N.Y. Dec. 12, 2014).


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                      CERTIFICATE OF COMPLIANCE

      I certify that the foregoing has been prepared using a 14-point proportionally

spaced typeface in Microsoft Word 365, and contains 3899 words, excluding the

parts exempted by Fed. R. App. P. 32(f).

                                       s/Drew C. Ensign
                                       DREW C. ENSIGN
                                       Deputy Assistant Attorney General
                                       U.S. Department of Justice




                         CERTIFICATE OF SERVICE

      I certify that on May 18, 2025, I electronically filed the foregoing with the

Clerk of the Court for the United States Court of Appeals for the Second Circuit by

using the ACMS system. I further certify that all participants in this case, including

Petitioner’s counsels, are registered ACMS users and that service will be

accomplished via that system.

                                       s/Drew C. Ensign
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                                       U.S. Department of Justice
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25-1019
Öztürk v. Hyde


                  United States Court of Appeals
                            for the Second Circuit
                     _____________________________________

                                 August Term 2024
                                Argued: May 6, 2025
                                Decided: May 7, 2025

                                  No. 25-1019
                     _____________________________________

                                 RUMEYSA OZTURK,

                                 Petitioner–Appellee,

                                          v.

PATRICIA HYDE, in her official capacity as the New England Field Office Director,
    U.S. Immigration and Customs Enforcement; MICHAEL KROL, in his official
  capacity as HSI New England Special Agent in Charge, U.S. Immigration and
 Customs Enforcement; TODD LYONS, in his official capacity as Acting Director,
U.S. Immigration and Customs Enforcement; KRISTI NOEM, in her official capacity
   as Secretary of the United States Department of Homeland Security; MARCO
 RUBIO, in his official capacity as Secretary of State; and DONALD J. TRUMP, in his
                 official capacity as President of the United States,

                             Respondents–Appellants.
                     _____________________________________

                   Appeal from the United States District Court
                            for the District of Vermont
                   No. 2:25-cv-374, William K. Sessions III, Judge
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Before:              PARKER, CARNEY, and NATHAN, Circuit Judges.
                                 _____________

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BRIAN HAUSS
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New York, NY                                SONYA LEVITOVA
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BARRINGTON D. PARKER, SUSAN L. CARNEY, and ALISON J. NATHAN, Circuit Judges:

      Rümeysa Öztürk is a graduate student who had, until recently, been living

in Massachusetts lawfully on a student visa. On March 25, 2025, six plainclothes

law enforcement officers arrested Öztürk near her home without warning and

drove her away in an unmarked car. Unaware of her location and unable to

contact their client, Öztürk’s counsel brought a habeas petition in the District of

Massachusetts. The petition alleges that Öztürk was arrested and is now detained

based solely on an op-ed she wrote over a year before her arrest. But, when the

petition was filed, Öztürk had already been driven across state lines to Vermont.

And when the government eventually disclosed Öztürk’s location nearly twenty-

four hours later, she had again been moved, this time to a correctional facility in

Louisiana.

      The habeas petition filed in Massachusetts was transferred to the District of

Vermont, and the district court has set an expeditious schedule for a bail hearing

and to resolve the constitutional claims made in the habeas petition. In aid of this

resolution, the district court ordered the government to transport Öztürk from

immigration custody in Louisiana to immigration custody in the District of

Vermont.     Although proceedings continue in the District of Vermont, the

government now appeals the district court’s order.         Before this panel, the

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government seeks an emergency stay of this transfer order pending appeal. We

conclude that the government has failed to meet its burden to justify such a stay.

      First, the government has failed to show that it is likely to succeed on the

merits of its appeal.    The District of Vermont is likely the proper venue to

adjudicate Öztürk’s habeas petition because, at the time she filed, she was

physically in Vermont and her immediate custodian was unknown. Furthermore,

we conclude that the government is unlikely to prevail on its arguments that

various jurisdiction-stripping provisions of the Immigration and Nationality Act

(“INA”) on which the government relies deprive the district court of jurisdiction

over Öztürk’s challenge to her detention.

      Second, the government has failed to show irreparable injury absent a stay

of the transfer order. Contrary to its arguments, the transfer order does not

prevent it from effectuating any duly enacted law. If the government were to

prevail on this appeal, Öztürk would return to immigration custody in Louisiana.

And in the interim, Öztürk’s immigration removal proceedings will continue in

Louisiana. Finally, the balance of the equities disfavors a stay. Öztürk’s interest in

participating in her scheduled habeas proceedings in person outweighs the

government’s purported administrative and logistical costs.



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      For these reasons, the government’s motion for a stay is DENIED, the

government’s request for a writ of mandamus is also DENIED, and the

administrative stay entered by this Court is hereby VACATED. The government

is hereby ORDERED to comply with the district court’s transfer order within one

week of the date of this opinion. Accordingly, the district court’s April 18, 2025

Order is hereby amended as follows: “To support the Court’s resolution of these

issues, the Court orders that Ms. Öztürk be physically transferred to ICE custody

within the District of Vermont no later than May 14, 2025.”

      I.     BACKGROUND

      This case arises from the arrest and detention of Rümeysa Öztürk, a young

Turkish student who entered the United States legally pursuant to a valid F-1

student visa. Öztürk is a third-year doctoral candidate in Child Study and Human

Development at Tufts University, and has been residing in Somerville,

Massachusetts. Öztürk was arrested on March 25, 2025, and has been detained at

a correctional facility in Louisiana ever since.

      To date, the only justification the government has provided for her arrest

and detention is that the Department of Homeland Security (“DHS”) and

Immigration and Customs Enforcement (“ICE”) made an assessment that she “had

been involved in associations that ‘may undermine U.S foreign policy by creating

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a hostile environment for Jewish students and indicating support for a designated

terrorist organization’ including co-authoring an op-ed that found common cause

with an organization that was later temporarily banned from campus.” Ozturk v.

Trump, No. 2:25-cv-374, 2025 WL 1145250, at *17 (D. Vt. Apr. 18, 2025) (emphasis

added).

      The opinion editorial, which was co-authored by Öztürk and three other

Tufts students, was published last year on March 26, 2024. It expressed strong

views on an undisputedly controversial topic, criticizing the University’s response

to three resolutions passed by the Tufts Community Union Senate that would have

the University “acknowledge the Palestinian genocide, apologize for University

President Sunil Kumar’s statements, disclose its investments and divest from

companies with direct or indirect ties to Israel.” Rumeysa Ozturk et al., Op-ed: Try

Again, President Kumar: Renewing Calls for Tufts to Adopt March 4 TCU Senate

Resolutions, The Tufts Daily (Mar. 26, 2024), available at https://www.tuftsdaily.

com/article/2024/03/4ftk27sm6jkj [https://perma.cc/84ZQ-EVZ7].

      On March 21, 2025, the U.S. Department of State, Bureau of Consular Affairs

approved revocation of Öztürk’s F-1 visa. Ozturk, 2025 WL 1145250, at *2. The

approval was, apparently, based solely on the assessment by DHS and ICE that



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Öztürk’s co-authorship of the op-ed a year earlier demonstrated her involvement

in organizations that “may undermine U.S. foreign policy.” Id. at *17. Öztürk was

not informed that DHS and ICE were considering seeking her visa revocation, nor

that such a determination was made. The Armstrong Memo stated that “[d]ue to

ongoing ICE operational security, this revocation will be silent; the Department of

State will not notify the subject of the revocation.” Id. at *3 (emphasis added).

      Four days later, six heavily armed, plainclothes officers, some masked,

arrested Öztürk without warning on the street near her residence and drove her

away in an unmarked vehicle, crossing state lines and transporting her first to

New Hampshire, then to Vermont, and the next day, flying her to a correctional

facility in Basile, Louisiana, where she remains in custody.

      Öztürk was not afforded an opportunity to speak with counsel or to tell

anyone where she was until after her arrival in Louisiana, almost twenty-four

hours after her arrest in Massachusetts. Counsel’s efforts to determine where she

was detained in the hours after her arrest were unsuccessful. Thus, that evening,

her counsel filed a habeas petition in the District of Massachusetts—her last known

location—seeking her release. The Massachusetts district court then ordered that




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she not be transferred out of Massachusetts. But at this point Öztürk was already

in Vermont. ICE agents proceeded to transport her to Louisiana.

      Because Öztürk was detained in Vermont at the time her habeas petition

was filed, Judge Denise L. Casper of the District of Massachusetts soon transferred

this case to the District of Vermont, where the case was assigned to Judge William

K. Sessions III. Ozturk v. Trump, 25-cv-10695, 2025 WL 1009445, at *11 (D. Mass.

Apr. 4, 2025); see also 28 U.S.C. § 1631.

      In her amended habeas petition, Öztürk alleges that her arrest and detention

were unlawfully “designed to punish her speech and chill the speech of others.”

Mot. Ex. A (Amended Habeas Petition, hereinafter “Pet.”) at 2 ¶ 3. She does not

challenge the revocation of her visa, and she is not subject to an order of removal.

The government moved to dismiss the petition. In a careful and thoughtful

opinion, Judge Sessions denied the government’s motion and scheduled a bail

hearing (for May 9) and a hearing on the habeas petition (for May 22). The district

court also ordered that Öztürk be transferred to immigration custody in the

District of Vermont in order to facilitate those proceedings.

      Before us is the government’s emergency motion seeking a stay pending

appeal of the district court’s order dated April 18, 2025, which directs the



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government to return Öztürk from Louisiana to the District of Vermont. Öztürk

argues that we lack appellate jurisdiction over an appeal from Judge Sessions’

order, and she otherwise opposes the motion.

      II.    APPELLATE JURISDICTION

      As a threshold matter, Öztürk argues that we lack jurisdiction over the

government’s interlocutory appeal from the district court’s order that she “be

physically transferred to ICE custody within the District of Vermont no later than

May 1, 2025.” Ozturk, 2025 WL 1145250, at *25. Specifically, she contends that we

cannot review this interlocutory order because it is not an injunction, was not

certified by the district court to this Court, and is not appealable under the

collateral order doctrine. We disagree.

      In Shoop v. Twyford, the Supreme Court held that, pursuant to the collateral

order doctrine, federal courts of appeal have appellate jurisdiction to review a

transportation order under the All Writs Act, 28 U.S.C. § 1651. 596 U.S. 811, 817

n.1 (2022). We are bound by that conclusion. Accordingly, we conclude that this

Court has jurisdiction over the stay motion.

      III.   STAY PENDING APPEAL

      A stay is “an exercise of judicial discretion and the propriety of its issue is

dependent upon the circumstances of the particular case.” Nken v. Holder, 556 U.S.

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418, 433 (2009) (alterations adopted) (quotation marks omitted).          “The party

requesting a stay bears the burden of showing that the circumstances justify an

exercise of [the Court’s] discretion.” Id. at 433–34. The four stay factors are “(1)

whether the stay applicant has made a strong showing that he is likely to succeed

on the merits; (2) whether the applicant will be irreparably injured absent a stay;

(3) whether issuance of the stay will substantially injure the other parties interested

in the proceeding; and (4) where the public interest lies.” Id. at 434 (quotation

marks omitted). “The first two factors . . . are the most critical.” Id. And where

“the government is a party to the suit, the final two factors merge.” New York v.

U.S. Dep’t of Homeland Sec., 969 F.3d 42, 58–59 (2d Cir. 2020). We deny the stay

because the government has not met its burden on any of the factors.

      A.     Likelihood of Success on the Merits

             1.     District of Confinement and Immediate Custodian

      We begin with two traditional requirements for a federal court to entertain

a habeas petition: that the petition be filed in the district of confinement and that

it name the petitioner’s immediate custodian. See Rumsfeld v. Padilla, 542 U.S. 426,

438 (2004); see also 28 U.S.C. § 2242. Generally, “[w]henever a § 2241 habeas

petitioner seeks to challenge his present physical custody within the United

States,” he must file the petition in the district of confinement and name his

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immediate custodian as the respondent. Padilla, 542 U.S. at 447. Öztürk filed her

original habeas petition in the District of Massachusetts on March 25, 2025 at

approximately 10pm, naming as respondents Patricia Hyde, the New England

Field Office Director of ICE; Michael Krol, ICE’s Homeland Security

Investigation’s New England Special Agent in Charge; Todd Lyons, the Acting

Director of ICE; and Kristi Noem, the Secretary of Homeland Security. The

government argues that, because the petition was not filed in Öztürk’s district of

confinement and did not name Öztürk’s immediate custodian, “the order below

was unlawful because the district court does not have habeas jurisdiction over this

case in the first place.” Mot. at 10.

      Any confusion about where habeas jurisdiction resides arises from the

government’s conduct during the twenty-four hours following Öztürk’s arrest.

Öztürk was arrested near her residence in Somerville, Massachusetts, at about

5:25pm on March 25, 2025. Ozturk, 2025 WL 1009445, at *2 . ICE officers departed

Somerville with Öztürk at 5:49pm. Id. At 10:28pm, after being transferred to

Methuen, Massachusetts, and then to Lebanon, New Hampshire, Öztürk arrived

at an ICE field office in St. Albans, Vermont, where she spent the next six hours.




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Id. At 4:00am on March 26, 2025, Öztürk was transported to the airport in

Burlington, Vermont and then to Louisiana, where she arrived at 2:35pm. Id.

       Öztürk’s counsel “repeatedly attempted to ascertain her location” in the

hours following her arrest. Ozturk, 2025 WL 1145250, at *3; see also Opp. at 4–5.

After their initial efforts failed, counsel filed Öztürk’s original habeas petition in

the District of Massachusetts—her last known location—at approximately

10:01pm. See Mot. at 5; Ozturk, 2025 WL 1145250, at *2; Ozturk, 2025 WL 1009445,

at *1. It is now undisputed that at that time, Öztürk was not in the District of

Massachusetts—she was already in Vermont. Accordingly, the Massachusetts

district court found it lacked habeas jurisdiction and transferred the petition to

Vermont under 28 U.S.C. § 1631. Ozturk, 2025 WL 1009445, at *11.

       The government now argues that this transfer was improper.                     The

government is wrong. 28 U.S.C. § 1631 provides “[w]henever a civil action . . . is

noticed for or filed with . . . a court and that court finds that there is a want of

jurisdiction, the court shall, if it is in the interest of justice, transfer such action or

appeal to any other such court . . . in which the action or appeal could have been

brought at the time it was filed or noticed.” The Supreme Court has made clear

“the general rule that for core habeas petitions challenging present physical



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confinement, jurisdiction lies in only one district: the district of confinement.”

Padilla, 542 U.S. at 443. At the time the petition was filed, that “one district” was

the District of Vermont, where Öztürk was in transit to an ICE facility for the night.

Vermont is therefore the only district in which the petition could have been

brought at the time it was filed, and thus the only district to which it could be

transferred under § 1631. True, if the district court found that transfer was not in

the interest of justice, it could have dismissed the petition without prejudice, as

the Supreme Court did in Padilla—but the government presents no reason to call

into doubt the district court’s conclusion that transfer was “in the interest of

justice.” 1

       The government argues that § 1631 cannot convey “substantive authority”

the court would otherwise lack. Mot. at 13. That is true. The only effect of the

transfer statute is that “the action or appeal shall proceed as if it had been filed in




1And there are many reasons supporting its conclusion, not least that dismissing
the petition would have the effect of vacating the order entered in the District of
Massachusetts prohibiting the government from removing Öztürk from the
country until further court order.           Dismissing the petition would also
unnecessarily delay the resolution of Öztürk’s claims. Further, we have held that
“a finding that the original action was filed in good faith” weighs in favor of
transfer rather than dismissal. Liriano v. United States, 95 F.3d 119, 122 (2d Cir.
1996), as amended (Oct. 7, 1996). The government has presented no basis to believe
that the original petition was not filed in good faith.
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or noticed for the court to which it is transferred on the date upon which it was

actually filed in or noticed for the court from which it is transferred.” 28 U.S.C.

§ 1631. If the transferee court would have lacked jurisdiction had the action been

filed there, transfer does not cure that error. Thus, in De Ping Wang v. Dep’t of

Homeland Sec., where a petition was both untimely filed and filed in the wrong

court, transferring it to the proper court could not change the fact that it was

untimely. 484 F.3d 615, 617–18 (2d Cir. 2007). Not so here. Had the petition been

filed in the District of Vermont at 10:01pm on March 25, the case would have

properly been before that court.        The action’s transfer merely remedies the

procedural defect—it conveys no substantive authority the court would otherwise

lack. 2

          Nor does Öztürk’s own subsequent transfer to Louisiana strip the District

of Vermont of habeas jurisdiction. The Supreme Court’s decision in Ex parte Endo,

323 U.S. 283 (1944), “stands for the important but limited proposition that when

the Government moves a habeas petitioner after she properly files a petition

naming her immediate custodian, the District Court retains jurisdiction and may


2 Since neither the parties nor the district court relied on 28 US.C. §§1404(a) or
1406(a) in transferring Öztürk’s habeas petition, we express no view as to whether
transferring a petition pursuant to these provisions would similarly cure this
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direct the writ to any respondent within its jurisdiction who has legal authority to

effectuate the prisoner’s release.” Padilla, 542 U.S. at 441. The government argues

that the petition was not “properly filed” in Vermont, and so the district court

never obtained any jurisdiction that it could then “retain.” Mot. at 8 n.3, 14. But

the effect of a transfer under § 1631 is that we must treat the petition as if it were,

in fact, filed in Vermont at 10:01pm, when Öztürk was present in the district. The

government concedes that had the petition been filed in Vermont at that time,

habeas jurisdiction would be proper there. Under § 1631, the transferee court

inherits the filing time of the transferor court: in effect, the petition was filed in

Vermont at approximately 10:01pm, and consequently the Vermont district court

obtained jurisdiction at that time and retains it even in light of Öztürk’s

subsequent transfer to Louisiana. For these reasons, the government is not likely

to prevail on the theory that the district-of-confinement rule bars habeas

jurisdiction in the District of Vermont.

      Next, the government argues Öztürk’s failure to name her “immediate

custodian” is fatal to her petition. Mot. at 14–15. 28 U.S.C. § 2242 provides that an

application for habeas relief should allege “the name of the person who has

custody over him and by virtue of what claim or authority, if known.” 28 U.S.C.



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§ 2242 (emphasis added). Generally, this requires the petitioner to name their

“immediate” custodian.       Wales v. Whitney, 114 U.S. 564, 574 (1885).          More

specifically, “the default rule is that the proper respondent is the warden of the

facility where the prisoner is being held.” Padilla, 542 U.S. at 435. However, in

cases where the petitioner “is held in an undisclosed location by an unknown

custodian, it is impossible to apply” this rule. Id. at 450 n.18. In “these very limited

and special circumstances,” the naming of a more remote custodian—here, the

Secretary of Homeland Security—satisfies the statutory requirements. Demjanjuk

v. Meese, 784 F.2d 1114, 1116 (D.C. Cir. 1986).

      Here, the government did not disclose to Öztürk’s counsel where, or by

whom, she was being detained and did not allow Öztürk to contact counsel or

convey her whereabouts to anyone until almost twenty-four hours after her arrest.

Indeed, the government concedes that it withheld this information intentionally.

It stated below that it “does not permit immigration detainees ‘to communicate

about their location while enroute between detention facilities,’ because doing so

‘would raise serious security concerns.’” Ozturk, 2025 WL 1145250, at *9 (quoting

Dist. Ct. Dkt. ECF No. 83 at 13). The government contends that, even though it is

undisputed that Öztürk’s counsel did not know and could not find out who her



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immediate custodian was when her petition was filed (and the government still

has not identified who that was), the “unknown custodian exception” does not

apply here. Rather, the government argues that this exception applies only where

the custodian’s identity is a “prolonged secret.” Mot. at 14.

      The government cites no statute or case law for this extraordinary

proposition, the practical effect of which would be that for some unspecified

period of time after detention—seemingly however long the government chooses

to take in transporting a detainee between states or between facilities—a detainee

would be unable to file a habeas petition at all, anywhere. Such a rule finds no

support in the law and is contrary to longstanding tradition. See 3 William

Blackstone, Commentaries *131; Paul D. Halliday, Habeas Corpus: From England

to Empire 161 (2012 edition) (“By exploring hundreds of cases across many

decades, we can gain a sense of practices and principles, if not rules, that

constituted a jurisprudence of normalcy. At the center of this jurisprudence stood

the idea that the court might inspect imprisonment orders made at any time,

anywhere, by any authority.”); see also Boumediene v. Bush, 553 U.S. 723, 739–46

(2008). In any event, the plain text of 28 U.S.C. § 2242, requiring the petitioner to




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identify the immediate custodian “if known,” likely precludes the government’s

proposed rule.

      Even if the unknown custodian exception does not apply, Öztürk’s original

petition named Patricia Hyde, who it identified as ICE’s New England Field Office

Director. Dist. Ct. Dkt. ECF No. 1 at 1–2. Because Öztürk was in transit when her

petition was filed, Öztürk contends that Hyde was in fact her immediate custodian

during that period. See Opp. at 12. The government has never clarified who, if it

was not Hyde, had immediate custody of Öztürk in transit, declining to answer

direct questions from the district court and from this Court when asked. 3 See

Ozturk, 2025 WL 114525024, at *8 (citing Dist. Ct. Dkt. ECF No. 98 at 30–31). Thus,

either the custodian was Hyde, whom the petition named, or it was not Hyde and




3At oral argument before this Court, the government first stated that it does not
know who Öztürk’s immediate custodian was while she was in transit at
approximately 10:01pm and then took the novel position that Öztürk’s immediate
custodian at that time was the warden of the Vermont facility to which she had
not yet arrived. The government cited no authority for this contention, and it is at
odds with the straightforward rule set out in Padilla that the proper respondent to
a habeas petition is “’the person with the ability to produce the prisoner’s body
before the habeas court.” 542 U.S. at 435 (quotation marks omitted). As the
Supreme Court instructed in Padilla, “the default rule is that the proper respondent
is the warden of the facility where the prisoner is being held,” id. (emphasis
added), not the person who will at some unspecified future time have the ability
to produce the prisoner’s body or the warden of a facility where the prisoner is not
yet being held.
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the custodian remains unknown. On this record, the government has not shown

a likelihood of success on its claim that Öztürk’s original habeas petition was

deficient for any failure to name her immediate custodian at the time of filing.

      Finally, the government argues that even if the Vermont district court had

habeas jurisdiction over the original petition, filed while Öztürk was physically

present in Vermont, it lacks jurisdiction over Öztürk’s amended petition, filed on

March 28, when Öztürk was physically present in Louisiana. Mot. at 15–16. The

government refers us to Royal Canin U. S. A., Inc. v. Wullschleger, 604 U.S. 22 (2025),

in support. Royal Canin stands for the proposition that where a plaintiff files a

complaint in federal court raising both federal and state law claims and later

amends the complaint to remove the federal claims, the court lacks subject matter

jurisdiction over the amended complaint. Id. at 33–34. Royal Canin is plainly

inapposite. As the Supreme Court has held, questions of habeas jurisdiction use

the word jurisdiction “in the sense that it is used in the habeas statute, 28 U.S.C.

§ 2241(a), and not in the sense of subject-matter jurisdiction of the District Court.”

Padilla, 542 U.S. at 434 n.7. In fact, the Federal Rules of Civil Procedure provide

that an “amendment to a pleading relates back to the date of the original pleading

when . . . the amendment changes the party or the naming of the party against



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whom a claim is asserted.” Fed. R. Civ. P. 15(c)(1)(C). The government cites no

authority for its contention that jurisdiction within the meaning of the habeas

statute is evaluated anew when the petition is amended and may not relate back

to the date of the original pleading pursuant to the Federal Rules of Civil

Procedure.

             2.     Jurisdiction-Stripping Provisions of the INA

      The remainder of the government’s arguments for why it is likely to succeed

on the merits are primarily jurisdictional in nature.          It contends first that

jurisdiction-stripping provisions of the INA deprived the district court of

authority to order the government to transfer Öztürk to Vermont. Then it argues

that various other provisions of the INA stripped the district court of jurisdiction

over Öztürk’s petition as a whole. These arguments are unlikely to succeed in no

small part because our analysis is guided by longstanding principles of statutory

interpretation requiring Congress to speak clearly and specifically when it wishes

to deprive the federal courts of jurisdiction. Repeatedly, including in the INA

context, the Supreme Court has declared that we should “take account . . . of the

presumption favoring interpretations of statutes [to] allow judicial review . . .

absent clear statement.” Kucana v. Holder, 558 U.S. 233, 237 (2010) (quotation marks

and citation omitted); see also McNary v. Haitian Refugee Ctr., Inc., 498 U.S. 479, 483–

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84 (1991) (“We hold that given the absence of clear congressional language

mandating preclusion of federal jurisdiction and the nature of respondents’

requested relief, the District Court had jurisdiction . . . .”); Bowen v. Michigan Acad.

of Fam. Physicians, 476 U.S. 667, 671 (1986) (“[O]nly upon a showing of clear and

convincing evidence of a contrary legislative intent should the courts restrict

access to judicial review.” (quotation marks omitted)). Because Öztürk challenges

her arrest and detention, and not her removal, we find that the government is

unlikely to make such a showing.

                       a. 8 U.S.C. § 1252(a)(2)(B)(ii)

      We begin with the argument that the district court lacked authority to order

the government to transfer Öztürk to immigration custody in Vermont. The

district court premised its power to order Öztürk’s transfer to Vermont on both

the “equitable and flexible nature of habeas relief” and its authority under the All

Writs Act. Ozturk, 2025 WL 1145250, at *23 (quotation marks omitted). The district

court undeniably has an “inherent authority to protect [its] proceedings,” Degen v.

United States, 517 U.S. 820, 823 (1996), and to “meet new situations which demand

equitable intervention, and to accord all the relief necessary to correct the

particular injustices involved in these situations,” Hazel-Atlas Glass Co. v. Hartford-



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Empire Co., 322 U.S. 238, 248 (1944). The district court concluded that the equities

strongly favored Öztürk’s transfer to ICE custody in Vermont.

      The government argues that the decision where to detain a noncitizen

pending removal proceedings is committed to the discretion of the Secretary of

Homeland Security and that the INA precludes judicial review over such

discretionary   decisions.      In   support,    the   government      cites   8 U.S.C.

§ 1252(a)(2)(B)(ii), which precludes the exercise of federal court jurisdiction “to

review . . . any . . . decision or action of the Attorney General or the Secretary of

Homeland Security the authority for which is specified under this subchapter to

be in the discretion of the Attorney General or the Secretary of Homeland

Security.” 8 U.S.C. § 1252(a)(2)(B)(ii) (emphasis added). The government argues

that a different statute, 8 U.S.C. § 1231(g), “specifie[s]” that the decision to detain

immigrants in, and transfer immigrants to, the custodial location of the

government’s choice is within the executive branch’s discretion, barring judicial

review. The government is unlikely to succeed on that argument.

      To begin with, § 1252(a)(2)(B)(ii)’s bar on jurisdiction applies only to those

decisions where Congress has expressly “set out the Attorney General’s




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discretionary authority in the statute.” 4 Kucana, 558 U.S. at 247. Crucially, the

question is not whether § 1231(g) “require[s] an exercise of discretion” because

even if it “probably do[es],” the crux is “whether the text . . . specifies that the

decision is in the discretion of the Attorney General.” Nethagani v. Mukasey, 532

F.3d 150, 154 (2d Cir. 2008) (cleaned up). We have held that “when a statute

authorizes the Attorney General to make a determination, but lacks additional

language specifically rendering that determination to be within his discretion

(e.g., ‘in the discretion of the Attorney General,’ ‘to the satisfaction of the Attorney

General,’ etc.), the decision is not one that is ‘specified . . . to be in the discretion of

the Attorney General’ for purposes of § 1252(a)(2)(B)(ii).” Id. at 154–55.

       Section 1231(g) has no such additional language. It merely states that “[t]he

Attorney General shall arrange for appropriate places of detention for aliens

detained pending removal or a decision on removal.” 8 U.S.C. § 1231(g)(1). Far

from specifying discretion, § 1231(g) uses the obligatory “shall” rather than a

permissive “may.” This stands “in stark contrast to other sections of the INA,”


4 As part of transferring many immigration-related responsibilities from the
Attorney General to the Secretary of the Department of Homeland Security, “the
Homeland Security Act of 2002 mandates that references to the Attorney General
are deemed to include DHS where, as here, the relevant agency functions have
been transferred from the Department of Justice to DHS.” Shabaj v. Holder, 718
F.3d 48, 51 n.3 (2d Cir. 2013) (citing 6 U.S.C. § 557); see also 6 U.S.C. § 202.
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which both use permissive verbs and include additional language specifying that

those decisions that are within the Attorney General or DHS Secretary’s discretion.

Aguilar v. U.S. Immigr. & Customs Enf’t Div. of Dep’t of Homeland Sec., 510 F.3d 1, 20

(1st Cir. 2007); cf., e.g., 8 U.S.C. § 1157(c)(1) (“[T]he Attorney General may, in the

Attorney General’s discretion . . . .” (emphasis added)). When “Congress includes

particular language in one section of a statute but omits it in another section of the

same Act, it is generally presumed that Congress acts intentionally and purposely

in the disparate inclusion or exclusion.” Nken, 556 U.S. at 430 (quotation marks

omitted). 5   Furthermore, as explained above, with respect to § 1252(a)(2)(B)(ii)

exactly, the Supreme Court has applied the “presumption favoring interpretations

of statutes [to] allow judicial review . . . absent clear statement.” Kucana, 558 U.S.




5In fact, the very next sentence of § 1231(g)(1) uses the permissive “may,” and the
subsection appears to relate “more centrally to the government’s brick and mortar
obligations for obtaining facilities in which to detain aliens.” Reyna as next friend
of J.F.G. v. Hott, 921 F.3d 204, 209 (4th Cir. 2019). Section 1231(g) first provides that
the Attorney General “shall arrange for appropriate places of detention for aliens
detained pending removal or a decision on removal.” 8 U.S.C. § 1231(g)(1). If such
facilities “are unavailable,” the statute then provides that “the Attorney General
may expend” from specified appropriations “amounts necessary to acquire land
and to acquire, build, remodel, repair, and operate facilities (including living
quarters for immigration officers if not otherwise available) necessary for
detention.” Id. (emphasis added).
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at 237 (quotation marks omitted). Under these circumstances, we do not believe

that § 1252(a)(2)(B)(ii), by operation of § 1231(g), forecloses judicial review.

      With respect to transfer in particular, “§ 1231(g) does not address transfers

[of noncitizen detainees] at all,” and it surely does not “explicitly grant the

Attorney General or the Secretary of Homeland Security discretion with respect to

transfers.” Reyna as next friend of J.F.G. v. Hott, 921 F.3d 204, 209 (4th Cir. 2019)

(emphases added). Accordingly, even if the discretionary authority to transfer a

detainee between facilities is contemplated under § 1231(g), such authority is

merely implied. See id. at 210 (though discretion to transfer detainees “might

rightfully [be] locate[d]” under § 1231(g), “the authority is implied,” and “§

1252(a)(2)(B)(ii) . . . requires that discretionary authority be specified, i.e., made

explicit, in order to be unreviewable”); Aguilar, 510 F.3d at 20 (“[S]ection 1231(g)

fails to ‘specify’ that individualized transfer decisions are in the Attorney

General’s discretion.”).

      For these reasons, we conclude the government has failed to demonstrate

that it is likely to succeed on its contention that § 1252(a)(2)(B)(ii) strips the district

court of authority to order Öztürk’s custodial transfer.

                        b. 8 U.S.C. § 1252(g)



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      The government also asserts that § 1252(g) strips the district court of

jurisdiction to hear Öztürk’s habeas claims, thus warranting a stay of the district

court’s transfer order. Section 1252(g) prohibits courts from “hear[ing] any cause

or claim by or on behalf of any alien arising from the decision or action by the

Attorney General [or Secretary of Homeland Security] to commence proceedings,

adjudicate cases, or execute removal orders against any alien under this chapter.”

8 U.S.C. § 1252(g). That language supposedly includes Öztürk’s claims.

      The government dramatically overstates the reach of § 1252(g). As both the

Supreme Court and our Court have explained, § 1252(g)’s bar on jurisdiction is

“narrow[].” Reno v. Am.-Arab Anti-Discrimination Comm. (“AADC”), 525 U.S. 471,

482 (1999); see also Fulton v. Noem, No. 25-194, at 2 (2d Cir. Apr. 30, 2025) (order

granting stay of removal pending appeal and rejecting the proposition that

§ 1252(g) bars review of challenges to the manner of removal). Section 1252(g) is

directed “against a particular evil: attempts to impose judicial constraints upon

prosecutorial discretion.” AADC, 525 U.S. at 485 n.9. This bar on judicial review

is thus cabined “to three discrete actions”: a decision “to ‘commence proceedings,

adjudicate cases, or execute removal orders.’”       Id. at 482 (quoting 8 U.S.C.

§ 1252(g)) (emphases adopted). There are “many other decisions or actions that



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may be part of the deportation process” but that do not fall within the three

discrete exercises of “prosecutorial discretion” covered by § 1252(g). Id. at 482,

489.

       Most, if not all, of Öztürk’s habeas claims seem to fall outside of § 1252(g)’s

narrow jurisdictional bar. She does not challenge the government’s decision to

commence proceedings, adjudicate her case, or execute a removal order. Instead,

her petition challenges her unlawful detention, pending those proceedings, and

she seeks her release from detention in the interim based on the violations of her

First and Fifth Amendment rights that she has identified. Pet. at 22. 6 Section

1252(g) “does not preclude jurisdiction over the challenges to the legality of [a

noncitizen’s] detention.” Kong v. United States, 62 F.4th 608, 609 (1st Cir. 2023); see

also Parra v. Perryman, 172 F.3d 954, 957 (7th Cir. 1999) (similar).




6 Among other things, the petition’s Prayer for Relief requests “Respondents to
return Petitioner to [the] District [of Vermont] pending these proceedings,” “Order
the immediate release of Petitioner pending these proceedings,” and “Declare that
Respondents’ actions to arrest and detain Petitioner violate the First Amendment
and the Due Process Clause of the Fifth Amendment.” Pet. at 22. At this time, the
Court need not decide whether every Prayer for Relief survives § 1252(g). So long
as part of her challenge to her detention falls outside § 1252(g), her petition
survives. The district court would on that basis alone retain the authority to order
her transfer to aid its resolution of this case.
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      Nevertheless, the government contends that Öztürk’s detention “aris[es]

from” the commencement, adjudication, or execution of removal proceedings.

This contention is likely mistaken. The Supreme Court has already “rejected as

‘implausible’ the Government’s suggestion that § 1252(g) covers ‘all claims arising

from deportation proceedings’ or imposes ‘a general jurisdictional limitation.’”

Dep’t of Homeland Sec. v. Regents of the Univ. of California, 591 U.S. 1, 19 (2020)

(quoting AADC, 525 U.S. at 482); accord Jennings v. Rodriguez, 583 U.S. 281, 294

(2018) (opinion of Alito, J., joined by Roberts, C.J., and Kennedy, J.) (observing that

the Court “did not interpret [the phrase “arising from” in § 1252(g)] to sweep in

any claim that can technically be said to ‘arise from’ the three listed actions of the

Attorney General”). Because “the phrase ‘arising from’ is not ‘infinitely elastic,’”

it “does not reach ‘claims that are independent of, or wholly collateral to, the

removal process.’” Kong, 62 F.4th at 614 (quoting Aguilar, 510 F.3d at 10–11); see

also Parra, 172 F.3d at 957 (similar).

      “Among such ‘collateral’ claims” not subject to the § 1252(g) bar on judicial

review are “claims seeking review of the legality of a petitioner’s detention.” Kong,

62 F.4th at 614. Even though, “[i]n a but-for sense,” a claim of unlawful detention

might arise from the government’s decision to commence proceedings, adjudicate



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a case, or execute a removal, challenges to unlawful detention “do not ‘arise from’

the government’s decision to ‘execute removal orders’ within the meaning of

§ 1252(g) simply because the claims relate to that discretionary, prosecutorial

decision.”   Id. at 613; see also Parra, 172 F.3d at 957 (“[A petitioner’s] claim

concern[ing] detention . . . may be resolved without affecting pending [removal]

proceedings.”).

      Öztürk’s claims of unlawful and retaliatory detention are independent of,

and collateral to, the removal process. Her detention does not arise from the

government’s “commence[ment of] proceedings.”            AADC, 525 U.S. at 482

(quotation marks omitted). Filing a Notice to Appear (“NTA”) in an immigration

court is the action that commences removal proceedings. See 8 U.S.C. § 1229(a);

8 C.F.R. § 1239.1. But ICE detained Öztürk before an NTA was filed with the

immigration court.

      Nor does her detention-related claim seem to arise from the decision to

adjudicate her removal case, since her challenge to her detention has nothing to do

with whether a “removal action should be abandoned . . . or whether the formal

adjudicatory process should proceed.” Barahona-Gomez v. Reno, 236 F.3d 1115,

1120 (9th Cir. 2001) (quotation marks omitted); see also Michalski v. Decker, 279 F.



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Supp. 3d 487, 495 (S.D.N.Y. 2018) (reasoning that “the decision or action to arrest

or detain an alien [cannot] be fairly construed as a decision or action to ‘adjudicate

cases’” because “the decision to detain an individual . . . does not implicate the

Executive’s discretion in continuing or withdrawing such a proceeding”).

      Further, the government confirmed that ICE’s decision to arrest and detain

Öztürk was not directed by § 1226(a). Ozturk, 2025 WL 1145250, at *10. In other

words, her detention was not mandated by the mere fact that her case was under

adjudication. Nor could her detention possibly “arise from” the execution of a

removal order, because no such order has been entered.            Because Öztürk’s

unlawful detention claims “may be resolved without affecting pending [removal]

proceedings,” they do not arise from the three discrete exercises of prosecutorial

discretion that are shielded by § 1252(g). Parra, 172 F.3d at 957; see also Madu v.

U.S. Att’y Gen., 470 F.3d 1362, 1368 (11th Cir. 2006) (challenge to unlawful

detention not barred by § 1252(g) because it was distinct from a challenge to the

government’s decision to execute a removal order).

      The government nevertheless insists that the Supreme Court’s decision in

AADC bars this claim under § 1252(g). Again, it is unlikely to succeed on this

argument. It is true that the petitioners in AADC claimed that “INS was selectively



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enforcing immigration laws against them in violation of their First and Fifth

Amendment Rights.” 525 U.S. at 474. And the Supreme Court indeed concluded

that the “challenge to the Attorney General’s decision to ‘commence proceedings’

against them [fell] squarely within § 1252(g).” Id. at 487. But the petitioners’

claims in that case fell within that jurisdictional bar because they sought “to

prevent the initiation of deportation proceedings,” id. at 474—i.e., the

“commence[ment of] proceedings,” id. at 482. The habeas claims in that case did

not sound in unlawful detention at all, and it is therefore of no help to the

government. 7

      Accordingly, the government failed to satisfy its burden of demonstrating

that § 1252(g) likely strips the district court of jurisdiction to hear Öztürk’s petition.

The district court retains jurisdiction over at least some of Öztürk’s claims, vesting

it with the transfer authority it exercised.

                        c. 8 U.S.C. §§ 1252(a)(5), 1252(b)(9), and 1226(e)




7In a string-cite, the government also references this Circuit’s decision in Ragbir v.
Homan, 923 F.3d 53 (2d Cir. 2019), vacated sub nom. Pham v. Ragbir, 141 S. Ct. 227
(2020), to bolster its argument. But similar to AADC, the petitioners in that case
“sought to prevent the Government from executing [a] final order of removal
against him.” Id. at 61. That is squarely the third of the exercises of prosecutorial
discretion protected by § 1252(g). The habeas petition in that case says nothing of
unlawful detention.
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      For similar reasons, the government’s argument that 8 U.S.C. §§ 1252(a)(5),

1252(b)(9), and 1226(e) bar district court review of Öztürk’s detention-related

claims is unlikely to succeed. Section 1252(b)(9) bars district court review of claims

“arising from . . . action[s]” or “proceeding[s] brought to remove an alien.” 8

U.S.C. § 1252(b)(9). The government urges the conclusion that, because Öztürk’s

constitutional arguments under the First and Fifth Amendments relate to her

detention, and because detention itself is “necessary for . . . removal proceedings,”

§ 1252(b)(9) strips district courts of jurisdiction. Mot. at 18 (quotation marks

omitted) (quoting Demore v. Kim, 538 U.S. 510, 513 (2003)). In other words, the

government contends that the mere fact of Öztürk’s detention funnels all her

unlawful detention claims into § 1252(b)(9), irrespective of how tangentially

related the claims may be to removal proceedings.

      As a threshold matter, the very text of § 1252(b) sets out requirements only

“[w]ith respect to review of an order of removal under subsection (a)(1).” 8 U.S.C.

§ 1252(b). No such order of removal is at issue here. In any event, the Supreme

Court has rejected the proposed approach, holding that “§ 1252(b)(9) does not

present a jurisdictional bar where those bringing suit are not asking for review of

an order of removal, the decision to seek removal, or the process by which



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removability will be determined.” Regents, 591 U.S. at 19 (cleaned up) (quoting

Jennings, 583 U.S. at 294).

      Jennings does not require a different outcome, despite the government’s

insistence. As a threshold matter, the discussion of § 1252(b)(9) in Jennings is not

part of the plurality opinion of the Court. See 583 U.S. at 292–96 (opinion of Alito,

J., joined by Roberts, C.J., and Kennedy, J.). And in any event, the relevant part of

Jennings does not support the conclusion that § 1252(b)(9) bars jurisdiction over

habeas challenges to detention. That section in fact rejected the government’s

“expansive interpretation of § 1252(b)(9).”     Id. at 293; see also id. at 295 n.3.

Contrary to the government’s position, the mere fact that a noncitizen is detained

does not deprive district courts of jurisdiction under § 1252(b)(9): “The question

is not whether detention is an action taken to remove an alien but whether the

legal questions in this case arise from such an action.” Id. at 295 n.3 (emphasis in

original).

      As explained above, Öztürk’s unlawful detention claims may be resolved

without affecting pending removal proceedings. She asserts that the government

arrested and detained her to prevent speech with which it disagrees. Such an act

would be a violation of the Constitution—quite separate from the removal



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procedures followed by the immigration courts. Consequently, even if her claims

have a relationship to “pending removal proceedings,” her claims do not

themselves challenge “removal proceedings” and thus § 1252(b)(9)’s “channeling

function has no role to play.”        Canal A Media Holding, LLC v. United States

Citizenship & Immigr. Servs., 964 F.3d 1250, 1257 (11th Cir. 2020); see also

Mukantagara v. U.S. Dep’t of Homeland Sec., 67 F.4th 1113, 1116 (10th Cir. 2023) (“A

claim only arises from a removal proceeding when the parties in fact are

challenging removal proceedings.”); Gonzalez v. United States Immigr. & Customs

Enf’t, 975 F.3d 788, 810 (9th Cir. 2020) (“[C]laims challenging the legality of

detention pursuant to an immigration detainer are independent of the removal

process.”); Kellici v. Gonzales, 472 F.3d 416, 420 (6th Cir. 2006) (holding that district

court   had    jurisdiction   where    “habeas     petitions   challenged     only   the

constitutionality of the [petitioners’] arrest and detention, not the underlying

administrative order of removal”). 8 Legislative history from the REAL ID Act

further supports this conclusion. H.R. Rep. No. 109–72, at 175 (2005) (Conf. Rep.),


8See also Elgharib v. Napolitano, 600 F.3d 597, 605 (6th Cir. 2010) (explaining that “a
challenge that did not require the district court to address the merits of [an] order
of removal” would not be barred by § 1252); Duarte v. Mayorkas, 27 F.4th 1044, 1057
(5th Cir. 2022) (same); Casa De Maryland v. U.S. Dep’t of Homeland Sec., 924 F.3d 684,
697 (4th Cir. 2019) (same); E.O.H.C. v. Sec’y U.S. Dep’t of Homeland Sec., 950 F.3d
177, 186–88 (3d Cir. 2020) (same); Aguilar, 510 F.3d at 10–11 (same).
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as reprinted in 2005 U.S.C.C.A.N. 240, 300 (explaining that jurisdiction-stripping

provisions “would not preclude habeas review over challenges to detention that

are independent of challenges to removal orders”).

      The government’s arguments to the contrary rely on the mistaken belief that

substantive overlap between a challenge to detention and a challenge to removal

is reason enough to conclude that the detention challenge arises from removal.

But overlap, even substantial substantive overlap, does not make one claim arise

out of the other, or necessitate that one claim controls the outcome of the other.

After all, it would seem a “staggering result[]” if a person who brought a First

Amendment retaliation challenge to her removal would be barred from bringing

a separate First Amendment retaliation challenge to conditions of her

confinement, or her prolonged detention, merely because there is substantive

overlap between the claims. Jennings, 583 U.S. at 293 (opinion of Alito, J., joined

by Roberts, C.J., and Kennedy, J.). Rather, we have explained that “whether the

district court has jurisdiction will turn on the substance of the relief that a plaintiff

is seeking.” Delgado v. Quarantillo, 643 F.3d 52, 55 (2d Cir. 2011) (discussing 8

U.S.C. § 1252(a)(5)); see also Ruiz v. Mukasey, 552 F.3d 269, 274 n.3 (2d Cir. 2009)

(noting that neither § 1252(a)(5) nor § 1252(b)(9) “preclude a district court from



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exercising jurisdiction over an action seeking review of the denial of an I–130

petition [for classification of a noncitizen as an immediate relative of a U.S. citizen]

because such a denial is unrelated to any removal action or proceeding”). Here,

Öztürk seeks release from detention.

      This distinction makes practical sense. While challenges to removal can be

heard in a petition for review after an order of removal has been entered by an

immigration judge and affirmed by the Board of Immigration Appeals, the same

is not true of constitutional challenges to detention like the ones raised by Öztürk.

For one, neither the IJ nor the BIA has “jurisdiction to decide constitutional issues.”

Rabiu v. Immigr. & Naturalization Serv., 41 F.3d 879, 882 (2d Cir. 1994); see also Hinds

v. Lynch, 790 F.3d 259, 262 (1st Cir. 2015) (citing Matter of C-, 20 I. & N. Dec. 529,

532 (BIA 1992)); Arriaga v. Mukasey, 521 F.3d 219, 222 (2d Cir. 2008) (same). And

while the court of appeals considering the petition for review may consider

constitutional claims, that court is obliged to “decide the petition only on the

administrative record on which the order of removal is based.”                 8 U.S.C.

§ 1252(b)(4)(A) (emphasis added). However, we are not persuaded that an IJ or

the BIA would have developed a sufficient factual record, or any record at all, with

respect to the challenged detention, especially seeing as bond hearings are decided



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separately, appealed separately, and contain separate records than the removal

proceedings. See 8 U.S.C. § 1226(a); 8 C.F.R. §§ 236.1(d), 1003.19(d); U.S. Dep’t

Just., Exec. Off. for Immigr. Rev., Immigration Court Practice Manual, § 9.3(e), (f)

(last visited May 6, 2025), available at https://www.justice.gov/eoir/reference-

materials/ic/chapter-9/3 [https://perma.cc/9A6W-AG9U].        This means that in

many, if not most, instances, courts of appeal would not have a sufficient record

to assess the government’s conduct in cases such as this.

      Construing an independent constitutional challenge to detention as

necessarily implying a challenge to removal would lead to what Jennings called an

“absurd” result. 583 U.S. at 293 (opinion of Alito, J., joined by Roberts, C.J., and

Kennedy, J.). Öztürk’s core argument is that her free speech and due process rights

are being violated, now. Pet. ¶¶ 67–76. To require her to sit on her challenge until

she receives a final order of removal would create the situation warned of in

Jennings: Öztürk’s detention claim would be “effectively unreviewable” because,

“[b]y the time a final order of removal [is] eventually entered, the allegedly

excessive detention would have already taken place.” 583 U.S. at 293 (opinion of

Alito, J., joined by Roberts, C.J., and Kennedy, J.). “And of course, it is possible

that no such order would ever be entered in a particular case, depriving that



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detainee of any meaningful chance for judicial review.” Id.; see also Khalil v. Joyce,

No. 25-CV-01963, 2025 WL 1232369, at *30 (D.N.J. Apr. 29, 2025) (concluding that

§ 1252(b)(9) does not bar the petitioner’s constitutional claims because “a period

of delay while this case is pending before the immigration courts” is inconsistent

with Supreme Court precedent “that meaningful review of First Amendment

claims generally means rapid, prioritized review” (emphasis added)); Fort Wayne

Books, Inc. v. Indiana, 489 U.S. 46, 55 (1989) (determining that “refusal to grant

immediate review of petitioner’s [First Amendment] claims ‘might seriously erode

federal policy’” (emphasis added)).

      Accordingly, the government has not established that § 1252(b)(9) likely

strips the district court of jurisdiction to hear Öztürk’s petition. For the same

reasons, we are unpersuaded by the government’s argument that § 1252(a)(5)

forecloses review of Öztürk’s petition. Section 1252(a)(5) bars district court review

“of an order of removal,” but no order of removal is at issue here. 8 U.S.C.

§ 1252(a)(5).

      To the extent the government maintains, as it did before the district court,

that 8 U.S.C. § 1226(e) bars jurisdiction over Öztürk’s detention, this argument is

also unlikely to succeed. Section 1226(e) provides that the Secretary of Homeland



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Security’s “discretionary judgment” regarding, among other things, the decision

to arrest and detain a noncitizen pending a decision on removal, “shall not be

subject to review.” 8 U.S.C. § 1226(e). But because § 1226(e) “ contains no explicit

provision barring habeas review,” the Supreme Court has held that its “clear text”

does not bar jurisdiction over a constitutional challenge to detention under § 1226.

Demore, 538 U.S. at 517. Likewise, this Court has held that § 1226(e) does not

foreclose jurisdiction over habeas petitions challenging detention pursuant to §

1226(a). Velasco Lopez v. Decker, 978 F.3d 842, 850 (2d Cir. 2020) (holding that

§ 1226(e) does not “limit habeas jurisdiction over constitutional claims or

questions of law” (quotation marks omitted)).

      B.    Irreparable Injury

      The government argues that it suffers an irreparable injury “[a]ny time” it

is “enjoined by a court [from] effectuating statutes enacted by representatives of

its people.” Mot. at 19 (quoting Maryland v. King, 567 U.S. 1301, 1303 (2012)

(Roberts, C.J., in chambers)). We are not persuaded by this overbroad argument.

First, the district court’s order to transfer Öztürk from immigration custody in

Louisiana to immigration custody in Vermont in order to prepare for and attend

her bail and habeas petition hearing does not enjoin the government from

enforcing or “effectuating” any duly enacted law. In particular, Öztürk does not

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seek to disrupt—and nothing prevents the government from continuing with—

the removal proceedings it has commenced. The government asserts that it would

face difficulties in arranging for Öztürk to appear for her immigration proceedings

in Louisiana remotely. Reply at 2. But the government has not disputed that it is

legally and practically possible for Öztürk to attend removal proceedings

remotely. 8 U.S.C. § 1229a(b)(2)(A)(iv) (providing that removal proceedings may,

in some circumstances, take place “through telephone conference”).In addition,

much of the government’s irreparable harm argument seems to rely upon its less-

than-convincing merits arguments.          “[S]imply showing some possibility of

irreparable injury” is insufficient. Nken, 556 U.S. at 434 (quotation marks omitted).

Instead, the government must “demonstrate that irreparable injury is likely in the

absence of” its requested relief. Winter v. Nat. Res. Def. Council, Inc., 555 U.S. 7, 22

(2008).

      Lastly, of course, if the government were to prevail on this appeal, Öztürk

would return to immigration custody in Louisiana. For this and the above reasons,

we hold that the government has failed to show an irreparable injury.

      C.       Balance of Equities

      Finally, the balance of the equities decisively disfavors a stay. Permitting

Öztürk’s transfer will provide her ready access to legal and medical services,

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address concerns about the conditions of her confinement, and expedite resolution

of this matter—all of which are required, as the court below noted, to proceed

expeditiously. See 28 U.S.C. § 2243; Ozturk, 2025 WL 1145250, at *25. At stake, too,

is Öztürk’s ability to participate meaningfully in her habeas proceedings. Inherent

in the term “habeas corpus” is the notion that the government is required to

produce the detainee in order to allow the court to examine the legality of her

detention. See 28 U.S.C. § 2243 (“[T]he person to whom the writ is directed shall

be required to produce at the hearing the body of the person detained.”); Johnson

v. Eisentrager, 339 U.S. 763, 778 (1950) (“A basic consideration in habeas corpus

practice is that the prisoner will be produced before the court. This is the crux of

the statutory scheme established by the Congress; indeed, it is inherent in the very

term ‘habeas corpus.’”); see also Ozturk, 2025 WL 1145250, at *22 (finding Öztürk’s

transfer to Vermont “would allow the Court to conduct appropriate fact‑finding,”

and would “facilitate her ability to work with her attorneys, coordinate the

appearance of witnesses, and generally present her habeas claims”).             The

government’s contention that allowing Öztürk to participate meaningfully in

these proceedings “prioritizes the (improper) proceedings in Vermont over the

(proper) proceedings in Louisiana” is a particularly weak argument. Mot. at 20.



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      In addition, as the district court noted, the United States District Court for

the District of Massachusetts enjoined the government from moving Öztürk

“outside the District of Massachusetts without first providing advance notice of

the intended move.” Ozturk, 2025 WL 1145250, at *23 (quoting Dist. Ct. Dkt. ECF.

No. 3 at 2). The court in Massachusetts did so within an hour of Öztürk’s petition

being filed in order “to preserve the status quo.” Id. Although not technically

non-compliant, despite this order, the government moved Öztürk from Vermont

to Louisiana the next morning. The district court in Vermont ordered Öztürk’s

transfer in part to effectuate the district court in Massachusetts’s order, returning

Öztürk “to the status quo at the time of issuance” and in part “to ensure continued

respect for orders issued by Article III courts.” Id. at *24. Equity favors such a

determination.

      While the government raises the specter of “irreparable injury” from the

transfer order because it would—evidently—suffer “logi[sti]cal difficulty,” and

because    “micromanag[ing]        how     the    Executive     Branch . . . transfers

aliens . . . would severely undermine the workability of [the immigration]

system,” Mot. at 20, we are unpersuaded. Faced with such a conflict between the

government’s unspecific financial and administrative concerns on the one hand,



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and the risk of substantial constitutional harm to Öztürk on the other, we have

little difficulty concluding “that the balance of hardships tips decidedly” in her

favor. Mitchell v. Cuomo, 748 F.2d 804, 808 (2d Cir. 1984).

      IV.    MANDAMUS RELIEF

      The government asks this Court, in the alternative, to issue a writ of

mandamus and hold that the district court lacked authority to order Öztürk’s

transfer. “The remedy of mandamus is a drastic one, to be invoked only in

extraordinary situations.” Kerr v. U. S. Dist. Ct. for N. Dist. of California, 426 U.S.

394, 402 (1976). “We issue the writ only in exceptional circumstances amounting

to a judicial usurpation of power or a clear abuse of discretion.” In re Roman Cath.

Diocese of Albany, New York, Inc., 745 F.3d 30, 35 (2d Cir. 2014) (quotation marks

omitted); see also Cheney v. U.S. Dist. Ct. for D.C., 542 U.S. 367, 380 (2004).

      Here, the government has shown no such exceptional circumstances. The

heart of the government’s argument is that the district court lacked jurisdiction.

The argument runs the government head into the “general rule that appellate

courts should avoid determining jurisdictional issues on a petition for

mandamus.” In re Ivy, 901 F.2d 7, 10 (2d Cir. 1990); see also Roche v. Evaporated Milk

Ass’n, 319 U.S. 21, 26 (1943) (holding that, when considering a petition for



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mandamus, “appellate courts are reluctant to interfere with the decision of a lower

court on jurisdictional questions which it was competent to decide and which are

reviewable in the regular course of appeal”). We therefore decline to issue a writ

of mandamus.

                                  *      *     *

      For the reasons stated above, the government’s motion for a stay of the

transfer order requiring Öztürk’s transportation from immigration custody in

Louisiana to immigration custody in the District of Vermont is DENIED. The

government’s request for a writ of mandamus is also DENIED.                    The

administrative stay entered by this Court is hereby VACATED. Recognizing both

that the district court’s original transfer deadline has passed, along with the

practical and legal consequences of our decision for the parties, the government is

hereby ORDERED to comply with the district court’s transfer order within one

week of the date of this opinion. Accordingly, the district court’s April 18, 2025

Order is hereby amended as follows: “To support the Court’s resolution of these

issues, the Court orders that Ms. Öztürk be physically transferred to ICE custody

within the District of Vermont no later than May 14, 2025.” The district court may

amend its hearing schedule as it deems necessary in light of this order.



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      The parties are directed to confer with the Clerk of Court to set a briefing

schedule for the merits of the appeal.




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Mahdawi v. Trump


                   United States Court of Appeals
                                for the Second Circuit
                       _____________________________________

                                     August Term 2024
                                    Argued: May 6, 2025
                                    Decided: May 9, 2025

                                    No. 25-1113
                       _____________________________________

                                     MOHSEN MAHDAWI,

                                     Petitioner–Appellee,

                                                v.

    DONALD J. TRUMP, in his official capacity as President of the United States;
  PATRICIA HYDE, in her official capacity as Acting Boston Field Office Director,
    U.S. Immigration and Customs Enforcement; J DOE, in official capacity as
Vermont Sub-Office Director, U.S. Immigration and Customs Enforcement; TODD
LYONS, in his official capacity as Acting Director, U.S. Immigration and Customs
  Enforcement; KRISTI NOEM, in her official capacity as Secretary of the United
 States Department of Homeland Security; MARCO RUBIO, in his official capacity
as Secretary of State; and PAMELA BONDI, in her official capacity as U.S. Attorney
                                      General,

                               Respondents–Appellants.*
                       _____________________________________

                      Appeal from the United States District Court
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* The Clerk of Court is respectfully directed to amend the caption as set forth above.
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                    No. 2:25-cv-389, Geoffrey W. Crawford, Judge
                     _____________________________________
Before:             PARKER, CARNEY, and NATHAN, Circuit Judges.
                                   _____________

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BARRINGTON D. PARKER, SUSAN L. CARNEY, and ALISON J. NATHAN, Circuit Judges:

      Mohsen Mahdawi is an undergraduate student at Columbia University. He

is also a Lawful Permanent Resident who has lived in the United States for over a

decade and is in the process of applying to become a U.S. citizen. When Mahdawi

appeared for his naturalization interview in Vermont on April 14, 2025, he

answered the government’s questions and passed his citizenship test. But, he

alleges, at the interview’s conclusion, a team of armed law enforcement officers

entered the room and placed him under arrest.          He was brought to a U.S.

Citizenship and Immigration Services office and was served with a Notice to

Appear, which informed him that the U.S. Secretary of State had determined that

he was removable from the United States under the Immigration and Nationality

Act. Officers then brought him to the airport in Burlington, Vermont, with the

intent to transport him to Louisiana, but after they missed the flight to Louisiana,

officers brought him to a detention center in Vermont.

      Through counsel, Mahdawi filed a habeas petition, challenging his arrest

and detention and seeking his release. He maintains that, in violation of his First

and Fifth Amendment rights, he was arrested and detained in retaliation for his

peaceful advocacy on the politically contentious topic of the war in Gaza. On

Mahdawi’s emergency motion, the district court issued, and later extended, a

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temporary restraining order prohibiting the government from removing Mahdawi

from the District of Vermont. Following a bail hearing, the court also granted

Mahdawi’s motion to be released during the pendency of his habeas proceeding,

finding that he was neither a flight risk nor a danger to the community—findings

that the government does not contest before this panel.

      The government now seeks an emergency stay of these orders. Largely for

the reasons explained in our opinion in Öztürk v. Hyde, No. 25-1019, 2025 WL

1318154 (2d Cir. May 7, 2025), we deny the motion for a stay. As explained there,

the government is unlikely to succeed on its arguments that the district court

lacked jurisdiction over Mahdawi’s habeas petition. We further conclude that the

government is unlikely to succeed on its arguments that the district court lacked

the authority to order Mahdawi’s release. We are also unpersuaded by the

government’s argument that the district court’s orders prevented it from

effectuating duly enacted law, thereby causing it to suffer irreparable injury. In

fact, immigration removal proceedings have continued in Louisiana, and

Mahdawi has attended them remotely since his release. Finally, the balance of the

equities tips in favor of denying the stay. Indeed, the practical effect of the relief

the government seeks would be Mahdawi’s re-detention.             Individual liberty



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substantially outweighs the government’s weak assertions of administrative and

logistical costs. For these reasons, the government’s motion for a stay is DENIED

and the government’s request for a writ of mandamus is also DENIED.

I.    BACKGROUND

      This case arises from the arrest and detention of Mohsen Mahdawi, a

Palestinian student who entered the United States in July 2014 and has been a

Lawful Permanent Resident since January 2015. Mahdawi is an undergraduate at

Columbia University, majoring in philosophy. As a student at Columbia, he spoke

out against Israel’s military response to the atrocities committed by Hamas on

October 7, 2023. He also took part in student demonstrations where he spoke

publicly about “the importance of respecting international law, human rights, and

the need for a permanent ceasefire and a peaceful resolution.” Mahdawi v. Trump,

No. 2:25-cv-389, 2025 WL 1243135, at *1 (D. Vt. Apr. 30, 2025) (quotation marks

omitted) (quoting Dist. Ct. Dkt. ECF No. 19-2 ¶ 15). The government does not at

this time assert that his speech was not protected by the First Amendment.

      On April 14, 2025, Mahdawi appeared for his naturalization interview in

Vermont.    Mot. Ex. A (Habeas Petition, hereinafter “Pet.”) at 12 ¶ 50.

Unbeknownst to Mahdawi, a month earlier the Secretary of State had secretly

issued a memorandum, ostensibly pursuant to 8 U.S.C. § 1227(a)(4)(C), declaring

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him deportable for his speech and associations, which the memorandum

described as “otherwise lawful.” Mot. Ex. B at 1. At the end of his interview, he

was arrested by a team of masked ICE agents, brought to a U.S. Citizenship and

Immigration Service office, and served with a Notice to Appear (“NTA”). The

NTA stated that Mahdawi was removable because “[t]he Secretary of State has

determined that your presence and activities in the United States would have

serious adverse foreign policy consequences and would compromise a compelling

U.S. foreign policy interest.” Mahdawi, 2025 WL 1243135, at *3 (quoting Dist. Ct.

Dkt. ECF No. 19-2, at 10, 13).

      That same day, shortly before 2:00 p.m., the agents transported Mahdawi to

the airport in Burlington, Vermont, intending to transport him to a Louisiana jail.

They missed their scheduled flight, and Mahdawi was moved first to the ICE field

office in St. Albans, Vermont, and then to the Northwest State Correctional Facility

in Swanton, Vermont.

      Mahdawi’s attorney filed a habeas petition in the District of Vermont, which

was first assigned to Judge William K. Sessions III. Among other things, his

petition challenges “the government’s targeting and detention of Mr. Mahdawi,”




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and alleges that his “unlawful arrest and detention” was intended “to punish him

for his speech and to chill similar speech.” Pet. at 2 ¶ 4, 15 ¶¶ 64–67, 16 ¶ 76.

      Shortly after his arrest on April 14, Judge Sessions granted Mahdawi’s

emergency motion for a temporary restraining order (“TRO”) prohibiting

Mahdawi’s transfer to Louisiana or his removal from this country. Mahdawi, No.

2:25-cv-389, 2025 WL 1099021, at *1 (D. Vt. Apr. 14, 2025). On April 24, following

the case’s reassignment to Judge Geoffrey W. Crawford, the court extended the

TRO. Mahdawi, No. 25-cv-389 (D. Vt. Apr. 24, 2025), Dist. Ct. Dkt. ECF No. 34.

During this time, Mahdawi remained detained at Northwest Correctional Facility.

      Mahdawi applied for release on bail pending resolution of his habeas

petition.   On April 30, 2025, after a hearing, Judge Crawford granted the

application. In a careful and well-reasoned opinion, the court concluded, among

other things, that Mahdawi presented neither a flight risk nor a danger to his

community or to others. Mahdawi, 2025 WL 1243135, at *12. The government has

yet to contest these findings.

      Before us is the government’s emergency motion seeking a stay pending

appeal of the district court’s order extending its initial TRO (April 24, 2025 Order)

and its order of release on bail (April 30, 2025 Order). The government asked for



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this stay motion to be heard on an expedited schedule, and together with its stay

motion in Öztürk. An applications judge granted these requests and denied the

request for an administrative stay. See 2d Cir. Dkt. ECF No. 30. 1

II.   APPELLATE JURISDICTION

      As an initial matter, and as Mahdawi concedes, we have appellate

jurisdiction to review each of the challenged orders. First, under the “collateral

order doctrine,” we have jurisdiction to review “‘a small class of’ interlocutory

rulings that ‘are too important to be denied review and too independent of the

cause itself to require that appellate consideration be deferred until the whole case

is adjudicated.’” Fischer v. New York State Dep’t of L., 812 F.3d 268, 273 (2d Cir. 2016)

(quoting Will v. Hallock, 546 U.S. 345, 349 (2006)) (other internal citations omitted).

We have previously held that an order granting bail pending disposition of a

habeas petition is an appealable collateral order. Iuteri v. Nardoza, 662 F.2d 159,

161 (2d Cir. 1981).

      Second, because the TRO lasts for up to 90 days and “carries many of the

hallmarks of a preliminary injunction,” we construe it “as an appealable

preliminary injunction.” Dep’t of Educ. v. California, 145 S. Ct. 966, 968 (2025); see



1 The government also moved to consolidate the two cases. We deny that
motion by separate order.
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also Trump v. J. G. G., 145 S. Ct. 1003, 1005, 1006 (2025) (vacating a TRO that had

enjoined the government from removing any of the individual plaintiffs from the

United States for 14 days). Accordingly, we conclude that both the district court’s

release order and extended TRO are appealable orders.

III.   STAY PENDING APPEAL

       A stay is “an exercise of judicial discretion,” and the “propriety of its issue

is dependent upon the circumstances” presented to the court. Nken v. Holder, 556

U.S. 418, 433 (2009) (quotation marks omitted). “The party requesting a stay bears

the burden of showing that the circumstances justify an exercise of [the Court’s]

discretion.” Id. at 433–34. The four stay factors are “(1) whether the stay applicant

has made a strong showing that he is likely to succeed on the merits; (2) whether

the applicant will be irreparably injured absent a stay; (3) whether issuance of the

stay will substantially injure the other parties interested in the proceeding; and

(4) where the public interest lies.” Id. at 434 (quotation marks omitted). “The first

two factors . . . are the most critical.” Id. And where “the government is a party

to the suit, the final two factors merge.” New York v. U.S. Dep’t of Homeland Sec.,

969 F.3d 42, 58–59 (2d Cir. 2020). We deny the stay because the government has

not met its burden on any of these factors.



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      A.     Likelihood of Success on the Merits

      The government contends that several provisions of the Immigration and

National Act (“INA”) stripped the district court of jurisdiction in this case, and

that the district court accordingly lacked the power to order Mahdawi’s release

and to extend the TRO. These arguments are unlikely to succeed in no small part

because our analysis is guided by longstanding principles of statutory

interpretation requiring Congress to speak clearly and specifically when it wishes

to deprive the federal courts of jurisdiction. Repeatedly, including in the INA

context, the Supreme Court has declared that we should “take account . . . of the

presumption     favoring    interpretations    of   statutes   [to]   allow    judicial

review . . . absent clear statement.” Kucana v. Holder, 558 U.S. 233, 237 (2010)

(quotation marks and citation omitted); see also McNary v. Haitian Refugee Ctr., Inc.,

498 U.S. 479, 483–84 (1991). “[O]nly upon a showing of clear and convincing

evidence of a contrary legislative intent should the courts restrict access to judicial

review.” Bowen v. Michigan Acad. of Fam. Physicians, 476 U.S. 667, 671 (1986)

(quotation marks omitted). As explained below, the provisions on which the




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government relies do not state, let alone clearly state, a jurisdictional bar on review

of Mahdawi’s detention claims.

             1.     Release Order

      At this stage, the government makes no challenge to the district court’s

substantive determination that Mahdawi should be released on bail pending the

disposition of his habeas petition. See Mahdawi, 2025 WL 1243135, at *8–13.

Instead, it makes only jurisdictional challenges to the release order based on 8

U.S.C. §§ 1252(g), 1252(a)(5), and 1252(b)(9). We conclude that these jurisdictional

challenges are unlikely to succeed.

                       a. 8 U.S.C. § 1252(g)

      We begin with the government’s argument that the district court’s release

order should be stayed on the ground that § 1252(g) strips the district court of

jurisdiction to hear Mahdawi’s habeas petition. Section 1252(g) prohibits courts

from “hear[ing] any cause or claim by or on behalf of any alien arising from the

decision or action by the Attorney General [or Secretary of Homeland Security] to

commence proceedings, adjudicate cases, or execute removal orders against any

alien under this chapter.” 8 U.S.C. § 1252(g). 2 The government claims that


2As part of transferring many immigration-related responsibilities from the
Attorney General to the Secretary of the Department of Homeland Security, “the

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Mahdawi’s     challenge   to   his   unlawful   detention   “aris[es]   from”   the

commencement of removal proceedings. Mot. at 7 (quotation marks omitted).

      The government dramatically overstates the reach of § 1252(g) and has

failed to demonstrate a likelihood of success on this claim. As we said in Öztürk

v. Hyde, § 1252(g) does not reach “claims that are independent of, or wholly

collateral to, the removal process.” No. 25-1019, 2025 WL 1318154, at *9 (2d Cir.

May 7, 2025) (quoting Kong v. United States, 62 F.4th 608, 614 (1st Cir. 2023)). The

Supreme Court and our Court have explained that § 1252(g)’s bar on jurisdiction

is “narrow[],” and “applies only to three discrete actions”: a decision “to

‘commence proceedings, adjudicate cases, or execute removal orders.’” Reno v.

Am.-Arab Anti-Discrimination Comm. (“AADC”), 525 U.S. 471, 482 (1999) (quoting 8

U.S.C. § 1252(g) (emphases adopted)); see also Öztürk, 2025 WL 1318154, at *8.

Section 1252(g) is thus “directed against a particular evil: attempts to impose

judicial constraints upon prosecutorial discretion.” AADC, 525 U.S. at 485 n.9. But

there are “many other decisions or actions that may be part of the deportation

process” and yet do not fall within the three discrete exercises of “prosecutorial


Homeland Security Act of 2002 mandates that references to the Attorney General
are deemed to include DHS where, as here, the relevant agency functions have
been transferred from the Department of Justice to DHS.” Shabaj v. Holder, 718
F.3d 48, 51 n.3 (2d Cir. 2013) (citing 6 U.S.C. § 557); see also 6 U.S.C. § 202.
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discretion” covered by § 1252(g). Id. at 482, 485 n.9; see also Öztürk, 2025 WL

1318154, at *8.

      For that reason, in Öztürk, we concluded that a petitioner’s “claims of

unlawful and retaliatory detention” were “independent of, and collateral to, the

removal process.” Öztürk, 2025 WL 1318154, at *9. There, we explained that relief

from the allegedly improper detention did not interfere with DHS’s “prosecutorial

discretion.” AADC, 525 U.S. at 485 n.9. Nor did it interfere with DHS’s ability to

initiate removal proceedings against the petitioner, to adjudicate her removal case,

or to execute any removal order. See Öztürk, 2025 WL 1318154, at *9–10. We

therefore held that her unlawful detention claims were collateral to the removal

process and fell outside of § 1252(g)’s narrow jurisdictional bar. Id. at *9.

      The same is true here. Mahdawi’s habeas petition challenges his detention

on the grounds that it violates his rights under the Constitution. 3 As in Öztürk,


3Among other things, the petition's Prayer for Relief requests that the court “Order
the immediate release of Petitioner pending these proceedings,” “Order the release
of Petitioner,” and “Declare that Respondents’ actions to arrest and detain
Petitioner violate the First Amendment and the Due Process Clause of the Fifth
Amendment.” Pet. at 18. At this time, the Court need not decide whether every
single Prayer for Relief survives § 1252(g). The district court is still considering
the government’s motion to dismiss Mahdawi’s petition and will have the
opportunity to assess which claims are barred by § 1252(g) in the first instance. So
long as part of his challenge to his detention falls outside of § 1252(g), his petition
survives, as does the district court’s authority to order his release.
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Mahdawi’s “detention does not arise from the government’s ‘commenc[ement] of

proceedings,’” which begins with the filing of an NTA in an immigration court.

2025 WL 1318154, at *9 (quoting AADC, 525 U.S. at 482); see also 8 U.S.C. § 1229(a);

8 C.F.R. § 1239.1. Nor do his claims “arise from the decision to adjudicate [his]

removal case,” since it does not “implicate the Executive’s discretion” to continue

or withdraw such a proceeding. Öztürk, 2025 WL 1318154, at *10 (quotation marks

omitted). Moreover, the government does not claim that Mahdawi’s detention

was “mandated by the mere fact” that it commenced removal proceedings against

him. Id. To the contrary, the government “confirmed that ICE’s decision to arrest

and detain [Mahdawi] was not directed by § 1226(a).” Id.; see also Mot. at 20 (citing

8 U.S.C. § 1226(a) as its “statutory basis for [Mahdawi’s] detention”). And since

no removal order has been entered, Mahdawi’s detention-related claims could not

“possibly ‘arise from’ the execution of a removal order.” Öztürk, 2025 WL 1318154,

at *10. Mahdawi’s unlawful detention claims are thus likely “independent of, and

collateral to, the removal process.” Id. at *9.

      The government nevertheless insists that the Supreme Court’s decision in

AADC bars this claim. It is unlikely to succeed on this argument, too. It is true

that the petitioners in AADC claimed that the “INS was selectively enforcing



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immigration laws against them in violation of their First and Fifth Amendment

rights.” 525 U.S. at 474. And the Supreme Court indeed concluded that the

“challenge to the Attorney General’s decision to ‘commence proceedings’ against

them [fell] squarely within § 1252(g).” Id. at 487. But the petitioners’ claims in that

case fell within that jurisdictional bar because they sought “to prevent the

initiation of deportation proceedings,” id. at 474—i.e., the “commence[ment of]

proceedings,” id. at 482. The habeas claims in that case did not sound in unlawful

detention at all, and AADC is therefore of no help to the government.

      Accordingly, the government has failed to satisfy its burden of

demonstrating that § 1252(g) likely strips the district court of jurisdiction to hear

Mahdawi’s petition.

                       b. 8 U.S.C. §§ 1252(a)(5) and 1252(b)(9)

      For similar reasons, the government’s argument that 8 U.S.C. §§ 1252(a)(5)

and (b)(9) bar district court review of Mahdawi’s claims is unlikely to succeed.

Section 1252(b)(9) bars district court review of claims “arising from . . . action[s]”

or “proceeding[s] brought to remove an alien.”          8 U.S.C. § 1252(b)(9).    The

government urges the conclusion that Mahdawi’s arrest and detention are a but-

for result of the Secretary of State’s determination that he was removable, and thus

§ 1252(b)(9) strips district courts of jurisdiction. Mot. at 15. In other words, the

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government contends that its detention of Mahdawi works to funnel all his

unlawful detention claims into § 1252(b)(9), irrespective of how attenuated the

claims may be to removal proceedings.

      As we explained in Öztürk, we do not read § 1252(b) so broadly. Öztürk,

2025 WL 1318154, at *10–13. First, the language of § 1252(b) contradicts the

government. Id. at *11 (“[T]he very text of § 1252(b) sets out requirements only

with respect to review of an order of removal under subsection (a)(1).” (cleaned

up) (citing 8 U.S.C. § 1252(b))). No order of removal is at issue here. Second, the

Supreme Court has rejected the government’s proposed expansive approach,

holding that “§ 1252(b)(9) does not present a jurisdictional bar where those

bringing suit are not asking for review of an order of removal, the decision to seek

removal, or the process by which removability will be determined.” Dep’t of

Homeland Sec. v. Regents of the Univ. of California, 591 U.S. 1, 19 (2020) (cleaned up)

(quoting Jennings v. Rodriguez, 583 U.S. 281, 294 (2018)).

      As explained above, Mahdawi’s unlawful detention claims may be resolved

without affecting pending removal proceedings. He asserts that the government

arrested him to punish speech with which it disagrees. But doing so would violate

the Constitution—quite separate from the removal procedures followed by the



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immigration courts. Consequently, even if his claims have a substantive overlap

with challenges he may bring in his removal proceedings, his detention claims do

not themselves challenge or arise from “removal proceedings,” and “§ 1252(b)(9)’s

channeling function has no role to play.”        Öztürk, 2025 WL 1318154, at *11

(quotation marks omitted). As we noted in Öztürk, legislative history from the

REAL ID Act further supports this conclusion. H.R. Rep. No. 109–72, at 175 (2005)

(Conf. Rep.), as reprinted in 2005 U.S.C.C.A.N. 240, 300 (specifying that jurisdiction-

stripping provisions “would not preclude habeas review over challenges to

detention that are independent of challenges to removal orders”).

      This distinction between detention and removal makes practical

sense. While challenges to removal can be heard in a petition for review after an

order of removal has been entered by an immigration judge and affirmed by the

Board of Immigration Appeals, the same is not true of constitutional challenges to

detention like those raised by Mahdawi. As we explained in Öztürk, “neither the

IJ nor the BIA has ‘jurisdiction to decide constitutional issues.’” Öztürk, 2025 WL

1318154, at *12 (quoting Rabiu v. Immigr. & Naturalization Serv., 41 F.3d 879, 882 (2d

Cir. 1994)). And while the court of appeals considering the petition for review

may consider constitutional claims, that court is obliged to “decide the petition



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only on the administrative record on which the order of removal is based.”

8 U.S.C. § 1252(b)(4)(A) (emphasis added). We are not persuaded that an IJ or the

BIA will develop a sufficient factual record, or any record at all, with respect to the

challenged detention, especially given that bond hearings are decided separately,

appealed separately, and contain records separate from those made in the removal

proceedings. See 8 U.S.C. § 1226(a); 8 C.F.R. §§ 236.1(d), 1003.19(d); U.S. Dep’t

Just., Exec. Off. for Immigr. Rev., Immigration Court Practice Manual, § 9.3(e), (f)

(last visited May 6, 2025), available at https://www.justice.gov/eoir/reference-

materials/ic/chapter-9/3 [https://perma.cc/9A6W-AG9U].          This means that in

many, if not most, instances, courts of appeal would not have a sufficient record

to assess the constitutionality of the government’s conduct in cases such as this.

      Construing an independent constitutional challenge to detention as

necessarily implying a challenge to removal would lead to what Jennings called an

“absurd” result. 583 U.S. at 293 (opinion of Alito, J., joined by Roberts, C.J., and

Kennedy, J.). Mahdawi’s core argument is that his free speech and due process

rights are being violated, now. Pet. at 15–16, ¶¶ 63–76; see also Öztürk, 2025 WL

1318154, at *12. “By the time a final order of removal [is] eventually entered”—if

it ever is entered—the allegedly wrongful detention will have already occurred.



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Jennings, 583 U.S. at 293 (opinion of Alito, J., joined by Roberts, C.J., and Kennedy,

J.).

       Accordingly, the government has not established that § 1252(b)(9) likely

strips the district court of jurisdiction to hear Mahdawi’s petition. For the same

reasons, we reject the government’s argument that § 1252(a)(5) likely forecloses

review of Mahdawi’s petition. Section 1252(a)(5) bars district court review “of an

order of removal,” but no order of removal is at issue here. 8 U.S.C. § 1252(a)(5).

                2. TRO Extension Order
       The government also asserts that the INA deprived the district court of

jurisdiction to extend its TRO. As a preliminary matter, the government conceded

at argument that if the release order remains in place, its challenge to the TRO is

“essentially moot.” Oral Arg. Hearing at 23:40–24:09. But in any event, the

government is unlikely to prevail. As in Öztürk, the government relies on 8 U.S.C.

§ 1252(a)(2)(B)(ii), which precludes the exercise of federal court jurisdiction “to

review . . . any . . . decision or action of the Attorney General or the Secretary of

Homeland Security the authority for which is specified under this subchapter to

be in the discretion of the Attorney General or the Secretary of Homeland

Security.” 8 U.S.C. § 1252(a)(2)(B)(ii) (emphasis added). Here, the government

contends that § 1252(a)(2)(B)(ii) deprived the district court of jurisdiction to extend

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the TRO on the ground that the decision where to detain a noncitizen pending

removal proceedings is committed to the discretion of the Secretary of Homeland

Security, and the INA precludes judicial review over such discretionary decisions.

See Mot. at 17–19.

      But as we explained in Öztürk, 2025 WL 1318154, at *7–8, the government

dramatically overstates the scope of § 1252(a)(2)(B)(ii). Section 1252(a)(2)(B)(ii)’s

bar on jurisdiction applies only to those decisions where Congress has expressly

“set out the Attorney General’s discretionary authority in the statute.” Kucana, 558

U.S. at 247. Crucially, the question is not whether § 1231(g) “require[s] an exercise

of discretion” because even if it “probably do[es],” the crux is “whether the

text . . . specifies that the decision is in the discretion of the Attorney General.”

Nethagani v. Mukasey, 532 F.3d 150, 154 (2d Cir. 2008) (cleaned up). We have held

that “when a statute authorizes the Attorney General to make a determination, but

lacks additional language specifically rendering that determination to be within

his discretion (e.g., ‘in the discretion of the Attorney General,’ ‘to the satisfaction

of the Attorney General,’ etc.), the decision is not one that is ‘specified . . . to be in




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the discretion of the Attorney General’ for purposes of § 1252(a)(2)(B)(ii).” Id. at

154–55.

      The government argues that two different statutory provisions, 8 U.S.C.

§ 1231(g) and 8 U.S.C. § 1226(a), “specif[y]” that the decision to detain immigrants

in the custodial location of the government’s choice is within the executive

branch’s exclusive discretion, precluding judicial review. The government is

unlikely to prevail on this argument. Section 1231(g) has no such additional

language.    It merely states that “[t]he Attorney General shall arrange for

appropriate places of detention for aliens detained pending removal or a decision

on removal.” 8 U.S.C. § 1231(g)(1). Far from authorizing discretion, § 1231(g) uses

the obligatory “shall” rather than the permissive “may.” This language is “in stark

contrast to other sections of the INA,” which both use permissive verbs and

include additional language specifying that those decisions that are within the

Attorney General or DHS Secretary’s discretion. Aguilar v. U.S. Immigr. & Customs

Enf’t Div. of Dep’t of Homeland Sec., 510 F.3d 1, 20 (1st Cir. 2007); cf., e.g., 8 U.S.C.

§ 1157(c)(1) (“[T]he Attorney General may, in the Attorney General’s discretion . . . .”

(emphasis added)). When “Congress includes particular language in one section

of a statute but omits it in another section of the same Act, it is generally presumed



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that Congress acts intentionally and purposely in the disparate inclusion or

exclusion.” Nken, 556 U.S. at 430 (quoting I.N.S. v. Cardoza–Fonseca, 480 U.S. 421,

432 (1987)). 4

       Section 1226(a), which states that “an alien may be arrested and detained

pending a decision on whether the alien is to be removed from the United States,”

similarly falls outside the scope of § 1252(a)(2)(B)(ii). 8 U.S.C. § 1226(a). First, the

permissive “may” in § 1226(a) provides discretion only as to the decision to

detain—not as to the location of detention. But even if this section did “authorize[]

the Attorney General” to detain an alien wherever they saw fit, it “lacks additional

language specifically rendering that determination to be within his discretion

(e.g., ‘in the discretion of the Attorney General,’ ‘to the satisfaction of the Attorney

General,’ etc.).” Nethagani, 532 F.3d at 154–55. Accordingly, such a decision does




4In fact, the very next sentence of § 1231(g)(1) uses the permissive “may,” and the
subsection appears to relate “more centrally to the government’s brick and mortar
obligations for obtaining facilities in which to detain aliens.” Reyna as next friend
of J.F.G. v. Hott, 921 F.3d 204, 209 (4th Cir. 2019). Section 1231(g) first provides that
the Attorney General “shall arrange for appropriate places of detention for aliens
detained pending removal or a decision on removal.” 8 U.S.C. § 1231(g)(1). If such
facilities “are unavailable,” the statute then provides that “the Attorney General
may expend” from specified appropriations “amounts necessary to acquire land
and to acquire, build, remodel, repair, and operate facilities (including living
quarters for immigration officers if not otherwise available) necessary for
detention.” Id. (emphasis added).
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not preclude judicial review because it “is not one that is ‘specified . . . to be in the

discretion of the Attorney General’ for purposes of § 1252(a)(2)(B)(ii).” Id. at 155.

      The Supreme Court has applied the “presumption favoring interpretations

of   statutes     [to]   allow   judicial   review . . . absent   clear   statement”   to

§ 1252(a)(2)(B)(ii)’s bar on jurisdiction. Kucana, 558 U.S. at 237 (quotation marks

omitted). Under these circumstances, we do not believe that § 1252(a)(2)(B)(ii), by

operation of § 1231(g) and § 1226(a), likely forecloses judicial review.

      Accordingly, we conclude that the government is unlikely to succeed in its

appeal of the order releasing Mahdawi and the order extending the TRO.

      B.        Irreparable Injury

      As in Öztürk, the government contends that any court order related to

immigration detention matters causes irreparable injury to its sovereign authority.

But the government has not demonstrated in what way it is being “enjoined by a

court [from] effectuating statutes enacted by representatives of its people.” Mot.

at 19 (quoting Maryland v. King, 567 U.S. 1301, 1303 (2012) (Roberts, C.J., in

chambers)). The district court’s order to hold Mahdawi (if detained) in Vermont

pending his habeas petition hearing does not enjoin the government from

enforcing or “effectuating” any duly enacted law. The district court concluded

that Mahdawi is neither a flight risk nor a danger to the community, and the

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government does not challenge that determination. Further, Mahdawi’s challenge

to his detention does not seek to disrupt—and nothing prevents the government

from continuing with—the removal proceedings it has commenced. See 8 U.S.C. §

1229a(b)(2)(A)(iii)–(iv) (providing that removal proceedings may take place

through video conference or, in some circumstances, “through telephone

conference”).   We thus conclude that the government has not shown any

irreparable injury from either his release on bail or continued presence in the

District of Vermont pending his removal proceedings.

      C.    Balance of Equities

      Finally, the balance of the equities weighs heavily against a stay. First of all,

the practical effect of the relief the government seeks would be to allow Mahdawi’s

re-detention. And “[t]he interest of the habeas petitioner in release pending appeal

[is] always substantial.” Hilton v. Braunskill, 481 U.S. 770, 777 (1987). This is

especially true given Mahdawi’s substantial First Amendment claims. See Elrod v.

Burns, 427 U.S. 347, 373 (1976) (“The loss of First Amendment freedoms, for even

minimal periods of time, unquestionably constitutes irreparable injury.”). And as

to the TRO, inherent in the term “habeas corpus” is the notion that the government

is required to produce the detainee in order to allow the court to examine the

legality of detention. See 28 U.S.C. § 2243 (“[T]he person to whom the writ is

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directed shall be required to produce at the hearing the body of the person

detained.”); Johnson v. Eisentrager, 339 U.S. 763, 778 (1950) (“A basic consideration

in habeas corpus practice is that the prisoner will be produced before the court.

This is the crux of the statutory scheme established by the Congress; indeed, it is

inherent in the very term ‘habeas corpus.’”).

      For its part, the government does not contest the district court’s findings

that Mahdawi is neither a danger to the public nor a flight risk. Instead, it claims

irreparable harm from the “practical cost[]” of “creat[ing] an ad-hoc location for

Mahdawi to continue to appear for his removal proceedings in Louisiana

remotely.” Mot. at 19–20. We are unpersuaded. For one, Mahdawi is not in ICE

detention, so his appearing remotely is his responsibility, not the government’s.

But even if he were re-detained, “[f]aced with such a conflict between the

government’s unspecific financial and administrative concerns on the one hand,

and the risk of substantial constitutional harm to [Mahdawi] on the other, we have

little difficulty concluding ‘that the balance of hardships tips decidedly’ in [his]

favor.” Öztürk, 2025 WL 1318154, at *14 (quoting Mitchell v. Cuomo, 748 F.2d 804,

808 (2d Cir. 1984) (internal quotation marks omitted)).




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IV.   MANDAMUS RELIEF

      The government asks this Court, in the alternative, to issue a writ of

mandamus and hold that the district court lacked authority to order Mahdawi’s

release and extend the TRO. “The remedy of mandamus is a drastic one, to be

invoked only in extraordinary situations.” Kerr v. U. S. Dist. Ct. for N. Dist. of

California, 426 U.S. 394, 402 (1976).    “We issue the writ only in exceptional

circumstances amounting to a judicial usurpation of power or a clear abuse of

discretion.” In re Roman Cath. Diocese of Albany, New York, Inc., 745 F.3d 30, 35 (2d

Cir. 2014) (quotation marks omitted); see also Cheney v. U.S. Dist. Ct. for D.C., 542

U.S. 367, 380 (2004).      The government has shown no such exceptional

circumstances. Öztürk, 2025 WL 1318154, at *14 (denying writ of mandamus

because “the government’s argument . . . that the district court lacked jurisdiction

. . . runs the government head into the ‘general rule that appellate courts should

avoid determining jurisdictional issues on a petition for mandamus’” (quoting In

re Ivy, 901 F.2d 7, 10 (2d Cir. 1990))). We therefore decline to issue a writ of

mandamus.

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      For the reasons stated above, the government’s motion for a stay of the

district court’s release order and extended TRO is DENIED. The government’s

request for a writ of mandamus is also DENIED.

      The parties are directed to confer with the Clerk of Court to set a briefing

schedule for the merits of the appeal.




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